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                       EXHIBIT 104
                                                                                                            Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 2 of 9 PageID# 6882

      Log ID        Prod Beg Bates      Prod End Bates   Date          Custodian            File Type                   Email Subject             Document Subject                     Author                    Recipient                                CC                           BCC                  Other Participants                        Privilege Type                                                     Privilege Description                                                     Redacted

                                                                                                             CONFIDENTIAL -- memos                                                              Burns, Michael*; Patelli, John*; Sullivan,
CSX_Priv_03402   CSXT0137601         CSXT0137602         1/15/2018 Burns, Michael   Outlook Message File     concerning access to Norfolk Ports                      Armbrust, Steven*          Morgen*                                                                                                                                       Attorney-Client                 Email among in-house counsel regarding access to NIT contains in-house counsel's legal opinion.

                                                                                                             FW: CONFIDENTIAL -- memos                                                                                                                                                         Armbrust, Steven*; Patelli, John*; Sullivan,                                   Email string among in-house counsel and in-house legal staff regarding access to NIT contains in-house
CSX_Priv_03410   CSXT0137690         CSXT0137691         1/15/2018                  Outlook Message File     concerning access to Norfolk Ports                      Burns, Michael*            Rinehart, Joann^                                                                               Morgen*                                        Attorney-Client                 counsel's legal opinion.

                                                                                                             RE: CONFIDENTIAL -- memos                                                                                                       Burns, Michael*; Patelli,                                                                                                        Email string among in-house counsel regarding NPBL and access to NIT requests and contains in-house
CSX_Priv_02163   CSXT0098442         CSXT0098443         1/15/2018                  Outlook Message File     concerning access to Norfolk Ports                      Armbrust, Steven*          Sullivan, Morgen*                            John*                         Armbrust, Steven*                                                  Attorney-Client                 counsel's legal opinion.

                                                                                                             RE: CONFIDENTIAL -- memos                                                                                                       Burns, Michael*; Patelli,                                                                                                        Email string among in-house counsel regarding NPBL and access to NIT requests and contains in-house
CSX_Priv_03418   CSXT0137779         CSXT0137780         1/15/2018 Burns, Michael   Outlook Message File     concerning access to Norfolk Ports                      Armbrust, Steven*          Sullivan, Morgen*                            John*                                                                                            Attorney-Client                 counsel's legal opinion.

                                                                                                             RE: CONFIDENTIAL -- memos                                                          Armbrust, Steven*; Burns, Michael*;                                                                                                                                           Email string among in-house counsel regarding NPBL and access to NIT reflects a request for in-house
CSX_Priv_02165   CSXT0098464         CSXT0098465         1/16/2018                  Outlook Message File     concerning access to Norfolk Ports                      Sullivan, Morgen*          Patelli, John*                                                                                                                                Attorney-Client                 counsel's legal opinion.

                                                                                                             RE: CONFIDENTIAL -- memos                                                          Armbrust, Steven*; Burns, Michael*;                                                                                                                                           Email string among in-house counsel regarding NPBL and access to NIT reflects a request for in-house
CSX_Priv_03419   CSXT0137799         CSXT0137800         1/16/2018 Burns, Michael   Outlook Message File     concerning access to Norfolk Ports                      Sullivan, Morgen*          Patelli, John*                                                                                                                                Attorney-Client                 counsel's legal opinion.
                                                                                                             FW: NPBL -- OUTLINE AND                                                                                                         Burns, Michael*; Patelli,                                                                                                        Email string among in-house counsel and employees regarding NPBL trackage rights reflects in-house
CSX_Priv_02166   CSXT0098469         CSXT0098469         1/16/2018                  Outlook Message File     MAPS for route to NIT                                   Armbrust, Steven*          Sullivan, Morgen*                            John*                         Armbrust, Steven*   Warren, Carl; MacDonald, Tony                  Attorney-Client                 counsel's legal opinion.
                                                                                                             RE: NPBL -- OUTLINE AND                                                                                                         Burns, Michael*; Patelli,                                                                                                        Email string among in-house counsel and employees regarding NPBL trackage rights contains in-house
CSX_Priv_02168   CSXT0098475         CSXT0098476         1/16/2018                  Outlook Message File     MAPS for route to NIT                                   Armbrust, Steven*          Sullivan, Morgen*                            John*                         Armbrust, Steven*   Warren, Carl; MacDonald, Tony                  Attorney-Client                 counsel's legal opinion.
                                                                                                             RE: NPBL -- OUTLINE AND                                                                                                         Burns, Michael*; Patelli,                                                                                                        Email string among in-house counsel and employees regarding NPBL trackage rights contains in-house
CSX_Priv_02169   CSXT0098522         CSXT0098523         1/16/2018 Burns, Michael   Outlook Message File     MAPS for route to NIT                                   Armbrust, Steven*          Sullivan, Morgen*                            John*                                             Warren, Carl; MacDonald, Tony                  Attorney-Client                 counsel's legal opinion.
                                                                                                                                                                                                                                             Burns, Michael*; Patelli,                                                                                                        Email among in-house counsel regarding NPBL and access to NIT reflects a request for in-house counsel's
CSX_Priv_02170   CSXT0098569         CSXT0098569         1/16/2018                  Outlook Message File     Emailing: NPBL Map.xps                                  Armbrust, Steven*          Sullivan, Morgen*                            John*                         Armbrust, Steven*                                                  Attorney-Client                 legal opinion.
                                                                                                                                                                                                                                             Burns, Michael*; Patelli,                                                                                                        Email among in-house counsel regarding NPBL and access to NIT reflects a request for in-house counsel's
CSX_Priv_02171   CSXT0098571         CSXT0098571         1/16/2018 Burns, Michael   Outlook Message File     Emailing: NPBL Map.xps                                  Armbrust, Steven*          Sullivan, Morgen*                            John*                                                                                            Attorney-Client                 legal opinion.
                                                                                                             RE: NPBL -- OUTLINE AND                                                                                                         Burns, Michael*; Patelli,                                                                                                        Email string among in-house counsel and employees regarding NPBL trackage rights contains in-house
CSX_Priv_03420   CSXT0137801         CSXT0137802         1/16/2018                  Outlook Message File     MAPS for route to NIT                                   Sullivan, Morgen*          Armbrust, Steven*                            John*                                             Warren, Carl; MacDonald, Tony                  Attorney-Client                 counsel's legal opinion.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL and access to NIT contains in-house counsel's legal
CSX_Priv_03421   CSXT0137803         CSXT0137803         1/17/2018                  Outlook Message File     RE: CONFIDENTIAL                                        Armbrust, Steven*          Burns, Michael*                              Sullivan, Morgen*                                                                                Attorney-Client                 opinion.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL and access to NIT contains in-house counsel's legal
CSX_Priv_02172   CSXT0098597         CSXT0098598         1/17/2018                  Outlook Message File     Re: CONFIDENTIAL                                        Burns, Michael*            Armbrust, Steven*                            Sullivan, Morgen*                                                                                Attorney-Client                 opinion.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL and access to NIT contains in-house counsel's legal
CSX_Priv_03422   CSXT0137804         CSXT0137805         1/17/2018                  Outlook Message File     Re: CONFIDENTIAL                                        Sullivan, Morgen*          Burns, Michael*                              Armbrust, Steven*                                                                                Attorney-Client                 opinion.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL and access to NIT contains in-house counsel's legal
CSX_Priv_04718   CSXT0154619         CSXT0154620         1/18/2018                  Outlook Message File     RE: CONFIDENTIAL                                        Armbrust, Steven*          Burns, Michael*                                                                                Sullivan, Morgen*                              Attorney-Client                 opinion.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL and access to NIT contains in-house counsel's legal
CSX_Priv_04717   CSXT0154617         CSXT0154618         1/18/2018                  Outlook Message File     Re: CONFIDENTIAL                                        Burns, Michael*            Armbrust, Steven*                                                                              Sullivan, Morgen*                              Attorney-Client                 opinion.
                                                                                                             FW: NS Discussion V2.docx                                                                                                       Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel and employees regarding Norfolk Southern meeting agenda requests
CSX_Priv_02240   CSXT0098822         CSXT0098825         1/26/2018                  Outlook Message File     [NPBL and broader NS meeting]                           Armbrust, Steven*          Goldman, Nathan*                             Morgen*; Patelli, John*      Armbrust, Steven*    Rice, Amy; Hendrickson, Eric                   Attorney-Client                 and contains in-house counsel's legal opinion.
                                                                                                             FW: NS Discussion V2.docx                                                                                                       Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel and employees regarding Norfolk Southern meeting agenda requests
CSX_Priv_02242   CSXT0098827         CSXT0098830         1/26/2018 Burns, Michael   Outlook Message File     [NPBL and broader NS meeting]                           Armbrust, Steven*          Goldman, Nathan*                             Morgen*; Patelli, John*                           Rice, Amy; Hendrickson, Eric                   Attorney-Client                 and contains in-house counsel's legal opinion.
                                                                                                             RE: NS Discussion V2.docx [NPBL                                                                                                 Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel and employees regarding Norfolk Southern meeting agenda requests
CSX_Priv_02246   CSXT0098836         CSXT0098839         1/26/2018                  Outlook Message File     and broader NS meeting]                                 Armbrust, Steven*          Goldman, Nathan*                             Morgen*; Patelli, John*                           Rice, Amy; Hendrickson, Eric                   Attorney-Client                 and contains in-house counsel's legal opinion.
                                                                                                                                                                                                                                             Sullivan, Morgen*; Armbrust,                                                                                                     Email string among in-house counsel regarding NPBL strategy requests and contains in-house counsel's
CSX_Priv_03482   CSXT0138527         CSXT0138527         1/30/2018                  Outlook Message File     Re: NPBL                                                Goldman, Nathan*           Burns, Michael*                              Steven*                                                                                          Attorney-Client                 legal opinion.
                                                                                                                                                                                                                                             Goldman, Nathan*;                                                                                                                Email string among in-house counsel regarding NPBL strategy requests and contains in-house counsel's
CSX_Priv_03483   CSXT0138528         CSXT0138528         1/30/2018                  Outlook Message File     RE: NPBL                                                Burns, Michael*            Sullivan, Morgen*                            Armbrust, Steven*                                                                                Attorney-Client                 legal opinion.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL strategy requests and contains in-house counsel's
CSX_Priv_03484   CSXT0138529         CSXT0138529         1/30/2018                  Outlook Message File     RE: NPBL                                                Goldman, Nathan*           Sullivan, Morgen*; Burns, Michael*           Armbrust, Steven*                                                                                Attorney-Client                 legal opinion.
                                                                                                                                                                                                                                                                                               Beazley, Abigail; Girardot, Rob; Piacente,
                                                                                                                                                                                                Burns, Michael*; Sullivan, Morgen*;                                                            Dean; Reinke, Anne; Warren, Carl; Whitt,                                       Redacted portion of email string among in-house counsel, lobbyist and employees regarding NIT access
CSX_Priv_04737   CSXT0099070         CSXT0099071         1/30/2018                  Outlook Message File     VPA meeting                                             Armbrust, Steven*          Patelli, John*; O'Brien, Erin*                                             Armbrust, Steven*   Wilby                                          Attorney-Client                 routes contains information provided to in-house counsel for the purpose of rendering a legal opinion.         Yes
                                                                                                                                                                                                                                             Sullivan, Morgen*; O'brien,                                                                                                      Email among in-house counsel regarding Virginia Port Authority communication concerning NIT access
CSX_Priv_02298   CSXT0099186         CSXT0099186         1/31/2018                  Outlook Message File     VPA Confidential One page.docx                          Armbrust, Steven*          Burns, Michael*                              Erin*                         Armbrust, Steven*                                                  Attorney-Client                 requests in-house counsel's legal opinion.
                                                                                                             RE: VPA Confidential One page                                                                                                   Sullivan, Morgen*; O'brien,                                                                                                      Email string among in-house counsel regarding draft Virginia Port Authority talking points contains and
CSX_Priv_02305   CSXT0099197         CSXT0099197         1/31/2018                  Outlook Message File     v2.docx                                                 Armbrust, Steven*          Burns, Michael*; Goldman, Nathan*            Erin*                                                                                            Attorney-Client                 discusses in-house counsel's legal opinion.

                                                                                                             FW: VPA Confidential Discussion                                                    Goldman, Nathan*; Burns, Michael*;                                                                                                                                            Email string among in-house counsel and in-house legal staff regarding Virginia Port Authority
CSX_Priv_02310   CSXT0099211         CSXT0099213         1/31/2018 Burns, Michael   Outlook Message File     Points, maps and cost exhibit                           Armbrust, Steven*          Sullivan, Morgen*; O'brien, Erin*                                                              Rinehart, JoAnn^                               Attorney-Client                 communication concerning NIT access contains in-house counsel's legal opinion.

                                                                                                                                                                                                Burns, Michael*; Sullivan, Morgen*;                                                                                                                                           Email string among in-house counsel and employees regarding economic impacts provides information to in-
CSX_Priv_03501   CSXT0138641         CSXT0138641          2/1/2018                  Outlook Message File     NIT: Memo w/ maps                                       Armbrust, Steven*          O'Brien, Erin*                               Patelli, John*                                    Girardot, Robert; Warren, Carl                 Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                    Microsoft Office Word                                                                                                                                                                                      Goldman, Nathan*; Burns, Michael*;                                             Draft letter regarding NPBL governance reflects in-house counsel's legal opinion prepared in anticipation of
CSX_Priv_03549   CSXT0139014         CSXT0139021          2/8/2018                  Open XML Format                                                                  O’Brien, Erin*                                                                                                            Armbrust, Steven*; Sullivan, Morgen*           Attorney-Client; Work Product   NPBL litigation.
                                                                                                                                                                                                                                                                                               O’Brien, Erin*; Goldman, Nathan*; Burns,
                                                                                                             FW: Draft NPBL Notice Letter for                                                                                                                                                  Michael*; Armbrust, Steven*; Sullivan,                                         Email string among in-house counsel regarding draft NPBL governance proposal contains in-house counsel's
CSX_Priv_03548   CSXT0139012         CSXT0139013          2/8/2018                  Outlook Message File     your review                                             Armbrust, Steven*          Patelli, John*                                                                                 Morgen*; Crowell & Morning LLP*                Attorney-Client; Work Product   legal opinion and relays outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                    Microsoft Office Word                                                                                                                                                                                      O’Brien, Erin*; Goldman, Nathan*; Burns,                                       Draft letter regarding NPBL governance reflects in-house counsel's legal opinion prepared in anticipation of
CSX_Priv_03554   CSXT0139212         CSXT0139216          2/9/2018                  Open XML Format                                                                  Sullivan, Morgen*                                                                                                         Michael*; Armbrust, Steven*                    Attorney-Client; Work Product   NPBL litigation.

                                                                                                             RE: Draft NPBL Notice Letter for                                                                                                Burns, Michael*; Armbrust,                                                                                                       Email string among in-house counsel regarding draft NPBL governance proposal requests in-house counsel's
CSX_Priv_03553   CSXT0139211         CSXT0139211         2/12/2018                  Outlook Message File     your review                                             Sullivan, Morgen*          O'Brien, Erin*; Goldman, Nathan*             Steven*                                           Crowell & Morning LLP*                         Attorney-Client; Work Product   legal opinion and relays outside counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                             RE: Draft NPBL Notice Letter for                                                                                                Burns, Michael*; Armbrust,                                                                                                       Email string among in-house counsel regarding draft NPBL governance proposal requests in-house counsel's
CSX_Priv_02353   CSXT0099753         CSXT0099753         2/12/2018                  Outlook Message File     your review                                             Goldman, Nathan*           Sullivan, Morgen*; O'brien, Erin*            Steven*                                           Crowell & Morning LLP*                         Attorney-Client; Work Product   legal opinion and relays outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                             Sullivan, Morgen*; Patelli,                                                                                                      Email string among in-house counsel regarding NPBL strategy requests in-house counsel's legal opinion
CSX_Priv_02357   CSXT0099790         CSXT0099791         2/22/2018                  Outlook Message File     RE: NPBL                                                Armbrust, Steven*          Burns, Michael*; O'brien, Erin*              John*                         Armbrust, Steven*   Goldman, Nathan*                               Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                             Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel regarding NPBL strategy requests in-house counsel's legal opinion
CSX_Priv_02358   CSXT0099810         CSXT0099811         2/22/2018                  Outlook Message File     RE: NPBL                                                Goldman, Nathan*           Armbrust, Steven*; O'brien, Erin*            Morgen*; Patelli, John*                                                                          Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                             Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel regarding NPBL strategy requests in-house counsel's legal opinion
CSX_Priv_02359   CSXT0099812         CSXT0099813         2/22/2018 Burns, Michael   Outlook Message File     RE: NPBL                                                Goldman, Nathan*           Armbrust, Steven*; O'brien, Erin*            Morgen*; Patelli, John*                                                                          Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.

                                                                                                             FW: Draft NPBL Notice Letter for                                                                                                                                                  Goldman, Nathan*; Burns, Michael*; Crowell                                     Email string among in-house counsel regarding draft NPBL governance proposal requests in-house counsel's
CSX_Priv_03581   CSXT0139433         CSXT0139434         2/27/2018                  Outlook Message File     your review                                             O'Brien, Erin*             Sullivan, Morgen*                            Armbrust, Steven*                                 & Morning LLP*                             Attorney-Client; Work Product       legal opinion and relays outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                Sullivan, Morgen*; O'brien, Erin*;                                                                                                                                            Email among in-house counsel regarding NPBL strategy reflects a request for in-house counsel's legal
CSX_Priv_02376   CSXT0099874         CSXT0099874          3/1/2018                  Outlook Message File     NPBL                                                    Burns, Michael*            Armbrust, Steven*                                                                                                                             Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                Burns, Michael*; Sullivan, Morgen*;                                                            Tuttle, John; Girardot, Robert; Wahidi,                                        Email string among in-house counsel and employees regarding NIT access proposal to NPBL contains in-
CSX_Priv_02382   CSXT0099902         CSXT0099903          3/7/2018                  Outlook Message File     FW: NPBL draft for your review                          Armbrust, Steven*          O'brien, Erin*                                                             Armbrust, Steven*   Salmaan                                        Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                             NBPL Rate, Governance and Pre-                                                                                                  Sullivan, Morgen*; O'Brien,                                                                                                      Email among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s legal
CSX_Priv_03610   CSXT0139518         CSXT0139518          3/9/2018                  Outlook Message File     suit Letters                                            Armbrust, Steven*          Burns, Michael*                              Erin*                         Armbrust, Steven*                                               Attorney-Client; Work Product      opinion prepared in anticipation of NPBL litigation.
                                                                                                             Re: NBPL Rate, Governance and                                                                                                                                                     Goldman, Nathan*; O’Brien, Erin*; Sullivan,                                    Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_02430   CSXT0100070         CSXT0100071          3/9/2018                  Outlook Message File     Pre-suit Letters                                        Burns, Michael*            Armbrust, Steven*                                                                              Morgen*                                     Attorney-Client; Work Product      legal opinion prepared in anticipation of NPBL litigation.
                                                                                                             RE: NBPL Rate, Governance and                                                                                                                                                     Burns, Michael*; Goldman, Nathan*; O’Brien,                                    Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_02432   CSXT0100074         CSXT0100075         3/12/2018                  Outlook Message File     Pre-suit Letters                                        Patelli, John*             Armbrust, Steven*                                                                              Erin*; Sullivan, Morgen*                    Attorney-Client; Work Product      legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                               Burns, Michael*; O’Brien, Erin*; Sullivan,                                     Email string among in-house counsel regarding NPBL board meeting dates requests in-house counsel’s legal
CSX_Priv_02433   CSXT0100076         CSXT0100076         3/13/2018                  Outlook Message File     FW: NPBL Meeting Date Letter                            Armbrust, Steven*          Patelli, John*                                                                                 Morgen*                                     Attorney-Client; Work Product      opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                               Burns, Michael*; O’Brien, Erin*; Sullivan,                                     Email string among in-house counsel regarding NPBL board meeting dates requests in-house counsel’s legal
CSX_Priv_02435   CSXT0100078         CSXT0100078         3/13/2018                  Outlook Message File     FW: NPBL Meeting Date Letter                            Armbrust, Steven*          Patelli, John*                                                                                 Morgen*                                     Attorney-Client; Work Product      opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                                                              Email string among in-house counsel regarding NPBL board meeting dates requests and contains in-house
CSX_Priv_02436   CSXT0100079         CSXT0100080         3/13/2018                  Outlook Message File     RE: NPBL Meeting Date Letter                            Armbrust, Steven*          O'brien, Erin*                               Sullivan, Morgen*                                 Burns, Michael*                                Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
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                                                                                               Re: NBPL Rate, Governance and                                                                                                                        Burns, Michael*; Goldman, Nathan*; O’Brien,                                   Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_02437   CSXT0100081   CSXT0100082   3/13/2018                 Outlook Message File    Pre-suit Letters                      Patelli, John*      Armbrust, Steven*                                                                          Erin*; Sullivan, Morgen*                    Attorney-Client; Work Product     legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among in-house counsel regarding NPBL board meeting dates requests and contains in-house
CSX_Priv_02438   CSXT0100083   CSXT0100084   3/13/2018                 Outlook Message File    RE: NPBL Meeting Date Letter          Armbrust, Steven*   O'brien, Erin*                          Sullivan, Morgen*              Armbrust, Steven*   Burns, Michael*                               Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               Looks like NPBL is handling the
                                                                                               rescheduling request in the                               Burns, Michael*; Sullivan, Morgen*;                                                                                                                                      Email among in-house counsel regarding NPBL board meeting schedule reflects a request for in-house
CSX_Priv_02449   CSXT0100111   CSXT0100111   3/15/2018                 Outlook Message File    ordinary course..                     Armbrust, Steven*   O'brien, Erin*                                                                                                                           Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               Redline of changes to the NPBL                                                                                                                                                                                                     Email among in-house counsel regarding rate proposal for NIT access requests and contains in-house
CSX_Priv_02454   CSXT0100142   CSXT0100142   3/15/2018                 Outlook Message File    Proposal                              Armbrust, Steven*   Sullivan, Morgen*; O'brien, Erin*       Burns, Michael*                Armbrust, Steven*                                                 Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               RE: Redline of changes to the                             Sullivan, Morgen*; Armbrust, Steven*;                                                                                                                                    Email string among in-house counsel regarding rate proposal for NIT access requests and contains in-house
CSX_Priv_02458   CSXT0100160   CSXT0100160   3/15/2018                 Outlook Message File    NPBL Proposal                         Burns, Michael*     O'brien, Erin*                                                                                                                         Attorney-Client; Work Product     counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               FW: NBPL Rate, Governance and                                                                                                                        Burns, Michael*; Goldman, Nathan*; O’Brien,                                   Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_03630   CSXT0139581   CSXT0139582   3/15/2018                 Outlook Message File    Pre-suit Letters                      Armbrust, Steven*   Patelli, John*                                                                             Erin*; Sullivan, Morgen*                    Attorney-Client; Work Product     legal opinion prepared in anticipation of NPBL litigation.
                                                                                               RE: NBPL Rate, Governance and                                                                                                                        Burns, Michael*; Goldman, Nathan*; O’Brien,                                   Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_03634   CSXT0139610   CSXT0139611   3/15/2018                 Outlook Message File    Pre-suit Letters                      Patelli, John*      Armbrust, Steven*                                                                          Erin*; Sullivan, Morgen*                    Attorney-Client; Work Product     legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among in-house counsel and employee regarding NPBL board meeting schedule contains
                                                                                               RE: NPBL confirms next board                              Armbrust, Steven*; Burns, Michael*;                                                                                                                                      information requested by in-house counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_02463   CSXT0100193   CSXT0100194   3/15/2018                 Outlook Message File    meeting is April 18th                 Goldman, Nathan*    Sullivan, Morgen*; O'brien, Erin*                                                          Humphries, Stephanie                          Attorney-Client; Work Product   anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among in-house counsel and employee regarding NPBL action plan reflects a request for
                                                                                                                                                                                                                                                                                                                                  information by in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_02465   CSXT0100196   CSXT0100196   3/16/2018                 Outlook Message File    FW: NPBL                              Burns, Michael*     Sullivan, Morgen*; Armbrust, Steven*                                                       Piacente, Dean                                Attorney-Client; Work Product   litigation.
                                                                                               NBPL Rate, Governance and Pre-                                                                                                                       Goldman, Nathan*; O’Brien, Erin*; Sullivan,                                   Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_03635   CSXT0139664   CSXT0139664   3/19/2018                 Outlook Message File    suit Letters                          Armbrust, Steven*   Burns, Michael*                                                                            Morgen*                                       Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.

                                                                                               NBPL Rate Proposal, Governance                                                                                                                                                                                                     Email among in-house counsel regarding NPBL action plan contains in-house counsel’s legal opinion
CSX_Priv_03639   CSXT0139692   CSXT0139693   3/19/2018                 Outlook Message File    and Pre-suit Letters                  Burns, Michael*     Sullivan, Morgen*; Armbrust, Steven*                                                                                                     Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.

                                                                                               RE: NBPL Rate Proposal,                                                                                                                                                                                                            Email string among in-house counsel regarding updated NPBL action plan requests, contains and discusses
CSX_Priv_03643   CSXT0139721   CSXT0139722   3/19/2018                 Outlook Message File    Governance and Pre-suit Letters       Armbrust, Steven*   Sullivan, Morgen*; Burns, Michael*                                     Armbrust, Steven*                                                 Attorney-Client; Work Product   in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                 Armbrust, Steven*; Sullivan,                                                                                                     Email among in-house counsel and employee regarding NPBL action plan reflects a request for in-house
CSX_Priv_02466   CSXT0100212   CSXT0100212   3/20/2018                 Outlook Message File    NPBL Proposal                         Piacente, Dean      Burns, Michael*                         Morgen*                                                                                          Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                 Armbrust, Steven*; Sullivan,                                                                                                     Email string among in-house counsel and employee regarding NPBL action plan reflects a request for in-
CSX_Priv_02467   CSXT0100213   CSXT0100213   3/20/2018                 Outlook Message File    RE: NPBL Proposal                     Burns, Michael*     Piacente, Dean                          Morgen*                                                                                          Attorney-Client; Work Product   house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among outside counsel and in-house counsel regarding NPBL action plan requests outside
CSX_Priv_02472   CSXT0100224   CSXT0100224   3/20/2018                 Outlook Message File    RE: NPBL Follow up                    Armbrust, Steven*   Burns, Michael*                                                                            Baum, Edwin*; Sullivan, Morgen*               Attorney-Client; Work Product   counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               NPBL -- follow up on timing for                           Baum, Edwin*; Burns, Michael*;                                                                                                                                           Email among outside counsel and in-house counsel regarding NPBL action plan requests outside counsel’s
CSX_Priv_02473   CSXT0100225   CSXT0100225   3/20/2018                 Outlook Message File    Governance                            Armbrust, Steven*   Sullivan, Morgen*                                                                                                                        Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.
                                                                                               RE: NPBL -- follow up on timing for                       Baum, Edwin*; Burns, Michael*;                                                                                                                                           Email string among outside counsel and in-house counsel regarding NPBL action plan requests outside
CSX_Priv_02477   CSXT0100229   CSXT0100229   3/20/2018                 Outlook Message File    Governance -- DOCUMENT                Armbrust, Steven*   Sullivan, Morgen*                                                      Armbrust, Steven*                                                 Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               Accepted: NPBL -- follow up on                                                                                                                                                                                                     Email among in-house counsel regarding NPBL action plan reflects a request for in-house counsel’s legal
CSX_Priv_02478   CSXT0100232   CSXT0100232   3/20/2018                 Outlook Message File    timing for Governance                 Burns, Michael*     Armbrust, Steven*                                                                                                                        Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.

                                                                                               [E]RE: NPBL -- follow up on timing                        Armbrust, Steven*; Burns, Michael*;                                                                                                                                      Email string among outside counsel and in-house counsel regarding NPBL action plan requests outside
CSX_Priv_02479   CSXT0100233   CSXT0100234   3/20/2018                 Outlook Message File    for Governance -- DOCUMENT            Baum, Edwin*        Sullivan, Morgen*                                                                                                                        Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                               [E]RE: NPBL -- follow up on timing                        Armbrust, Steven*; Burns, Michael*;                                                                                                                                      Email string among outside counsel and in-house counsel regarding NPBL action plan requests outside
CSX_Priv_02480   CSXT0100235   CSXT0100236   3/20/2018                 Outlook Message File    for Governance -- DOCUMENT            Baum, Edwin*        Sullivan, Morgen*                                                                                                                        Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                         Burns, Michael*; Sullivan, Morgen*;                                                                                                                                      Email among outside counsel and in-house counsel regarding rate proposal for NIT access requests outside
CSX_Priv_02481   CSXT0100237   CSXT0100237   3/20/2018                 Outlook Message File    NPBL - updated rate proposal          Armbrust, Steven*   Baum, Edwin*                                                           Armbrust, Steven*                                                 Attorney-Client; Work Product   counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                         Armbrust, Steven*; Burns, Michael*;                                                                                                                                      Email string among outside counsel and in-house counsel regarding rate proposal for NIT access outside
CSX_Priv_02485   CSXT0100255   CSXT0100255   3/20/2018                 Outlook Message File    RE: NPBL - updated rate proposal      Sullivan, Morgen*   Baum, Edwin*                                                                                                                             Attorney-Client; Work Product   counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                         Sullivan, Morgen*; Armbrust, Steven*;                                                                                                                                    Email string among outside counsel and in-house counsel regarding NPBL action plan requests and contains
CSX_Priv_03644   CSXT0139723   CSXT0139724   3/20/2018                 Outlook Message File    RE: NPBL - updated rate proposal      Burns, Michael*     Baum, Edwin*                                                                                                                             Attorney-Client; Work Product   in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among outside counsel and in-house counsel regarding rate proposal for NIT access requests
                                                                                               [E]RE: NPBL - updated rate                                Sullivan, Morgen*; Armbrust, Steven*;                                                                                                                                    and contains outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02487   CSXT0100263   CSXT0100264   3/20/2018                 Outlook Message File    proposal                              Baum, Edwin*        Burns, Michael*                                                                                                                          Attorney-Client; Work Product   litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among outside counsel and in-house counsel regarding rate proposal for NIT access requests
                                                                                               [E]RE: NPBL - updated rate                                Sullivan, Morgen*; Armbrust, Steven*;                                                                                                                                    and contains outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02489   CSXT0100272   CSXT0100273   3/20/2018                 Outlook Message File    proposal                              Baum, Edwin*        Burns, Michael*                                                                                                                          Attorney-Client; Work Product   litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among outside counsel and in-house counsel regarding rate proposal for NIT access requests,
                                                                                                                                                         Baum, Edwin*; Sullivan, Morgen*;                                                                                                                                         contains and discusses outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of
CSX_Priv_02491   CSXT0100281   CSXT0100282   3/20/2018                 Outlook Message File    RE: NPBL - updated rate proposal      Armbrust, Steven*   Burns, Michael*                                                        Armbrust, Steven*                                                 Attorney-Client; Work Product   NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among outside counsel and in-house counsel regarding rate proposal for NIT access requests,
                                                                                                                                                         Baum, Edwin*; Sullivan, Morgen*;                                                                                                                                         contains and discusses outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of
CSX_Priv_02493   CSXT0100290   CSXT0100291   3/20/2018                 Outlook Message File    RE: NPBL - updated rate proposal      Armbrust, Steven*   Burns, Michael*                                                        Armbrust, Steven*                                                 Attorney-Client; Work Product   NPBL litigation.

                                                                                               FW: NBPL Rate Proposal,                                                                                                                                                                                                            Email among in-house counsel regarding updated NPBL action plan requests and contains in-house
CSX_Priv_03645   CSXT0139725   CSXT0139726   3/20/2018                 Outlook Message File    Governance and Pre-suit Letters       Burns, Michael*     Sullivan, Morgen*; Armbrust, Steven*                                                                                                     Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                               RE: NBPL Rate Proposal,                                                                                                                                                                                                            Email string among in-house counsel regarding updated NPBL action plan requests, contains and discusses
CSX_Priv_03649   CSXT0139753   CSXT0139754   3/20/2018                 Outlook Message File    Governance and Pre-suit Letters       Sullivan, Morgen*   Burns, Michael*; Armbrust, Steven*                                                                                                       Attorney-Client; Work Product   in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                               Privileged and Confidential --
                                                                                               NBPL Rate Proposal, Governance                                                                    Goldman, Nathan*; Sullivan,                                                                                                      Email among in-house counsel and employee regarding NPBL action plan contains in-house counsel’s legal
CSX_Priv_03650   CSXT0139755   CSXT0139756   3/20/2018                 Outlook Message File    and Pre-suit Letters                  Burns, Michael*     Piacente, Dean                          Morgen*; Armbrust, Steven*                                                                       Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.

                                                                                               Re: Privileged and Confidential --
                                                                                               NBPL Rate Proposal, Governance                                                                    Goldman, Nathan*; Sullivan,                                                                                                      Email string among in-house counsel and employee regarding NPBL action plan contains in-house counsel’s
CSX_Priv_02495   CSXT0100299   CSXT0100300   3/20/2018                 Outlook Message File    and Pre-suit Letters                  Piacente, Dean      Burns, Michael*                         Morgen*; Armbrust, Steven*                                                                       Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.

                                                                                               [E]Re: NPBL - updated rate                                                                        Sullivan, Morgen*; Armbrust,                                                                                                     Email string among outside counsel and in-house counsel regarding NPBL action plan requests and contains
CSX_Priv_02496   CSXT0100301   CSXT0100302   3/20/2018                 Outlook Message File    proposal                              Baum, Edwin*        Burns, Michael*                         Steven*                                                                                          Attorney-Client; Work Product   outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                               [E]Re: NPBL - updated rate                                                                        Sullivan, Morgen*; Armbrust,                                                                                                     Email string among outside counsel and in-house counsel regarding NPBL action plan requests and contains
CSX_Priv_02497   CSXT0100303   CSXT0100304   3/20/2018                 Outlook Message File    proposal                              Baum, Edwin*        Burns, Michael*                         Steven*                                                                                          Attorney-Client; Work Product   outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               Fwd: NPBL Proposal; Dial-In                                                                                                                          Burns, Michael*; Armbrust, Steven*; Sullivan,                                 Email string among in-house counsel and employees regarding rate proposal for NIT access reflects a
CSX_Priv_02498   CSXT0100305   CSXT0100305   3/21/2018 Girardot, Rob   Outlook Message File    added, see below                      Piacente, Dean      Girardot, Robert                                                                           Morgen*                                       Attorney-Client; Work Product   request for in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                               Fwd: NPBL Proposal; Dial-In                                                                                                                          Burns, Michael*; Armbrust, Steven*; Sullivan,                                 Email string among in-house counsel and employees regarding rate proposal for NIT access reflects a
CSX_Priv_02499   CSXT0100306   CSXT0100306   3/21/2018                 Outlook Message File    added, see below                      Piacente, Dean      Girardot, Robert                                                                           Morgen*                                       Attorney-Client; Work Product   request for in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                               FW: NPBL Proposal; Dial-In                                                                                                                                                                                                         Email string among in-house counsel and employees regarding rate proposal for NIT access reflects a
CSX_Priv_02500   CSXT0100307   CSXT0100307   3/21/2018                 Outlook Message File    added, see below                      Burns, Michael*     Girardot, Robert; Piacente, Dean                                                           Armbrust, Steven*; Sullivan, Morgen*          Attorney-Client; Work Product   request for in-house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                               FW: Privileged and Confidential --
                                                                                               NBPL Rate Proposal, Governance                                                                    Armbrust, Steven*; Sullivan,                                                                                                     Email among in-house counsel and employees regarding NPBL action plan contains in-house counsel's legal
CSX_Priv_03654   CSXT0139783   CSXT0139784   3/21/2018                 Outlook Message File    and Pre-suit Letters                  Burns, Michael*     Rice, Amy                               Morgen*; Dideo, Tony                                                                             Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email among in-house counsel regarding NPBL director candidates contains in-house counsel’s legal opinion
CSX_Priv_02503   CSXT0100312   CSXT0100312   3/21/2018                 Outlook Message File    Confidential                          Armbrust, Steven*   Burns, Michael*; Sullivan, Morgen*                                     Armbrust, Steven*                                                 Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.

                                                                                               RE: Privileged and Confidential --
                                                                                               NBPL Rate Proposal, Governance                                                                    Armbrust, Steven*; Sullivan,                                                                                                     Email string among in-house counsel and employees regarding NPBL strategy contains in-house counsel's
CSX_Priv_02504   CSXT0100313   CSXT0100315   3/22/2018                 Outlook Message File    and Pre-suit Letters                  Burns, Michael*     Rice, Amy                               Morgen*; Dideo, Tony                                                                             Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                         Burns, Michael*; Baum, Edwin*;                                                                                                                                           Email among outside counsel and in-house counsel regarding NPBL director candidates reflects a request for
CSX_Priv_02505   CSXT0100316   CSXT0100316   3/22/2018                 Outlook Message File    NPBL BOD                              Sullivan, Morgen*   Armbrust, Steven*; O'brien, Erin*                                                                                                        Attorney-Client; Work Product   outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 4 of 9 PageID# 6884


                                                                                                                                                                                                 Goldman, Nathan*;
                                                                                                                                                                                                 Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                 Dideo, Tony; Armbrust,                                                                                                           Email among in-house counsel and employees regarding NPBL strategy contains in-house counsel's legal
CSX_Priv_03661   CSXT0139816   CSXT0139817   3/22/2018                  Outlook Message File     NBPL Escalation Strategy            Burns, Michael*     Foote, James                            Steven*; Sullivan, Morgen*                                                                      Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                    Burns, Michael*; Foote, James; Goldman,
                                                                                                                                                                                                                                                    Nathan*; Piacente, Dean; Rice, Amy; Dideo,                                    Email string among in-house counsel and employees regarding NPBL strategy contains in-house counsel's
CSX_Priv_03665   CSXT0139845   CSXT0139846   3/22/2018                  Outlook Message File     FW: NBPL Escalation Strategy        Armbrust, Steven*   Patelli, John*                                                                             Tony; Sullivan, Morgen*                      Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                    Burns, Michael*; Foote, James; Goldman,
                                                                                                                                                                                                                                                    Nathan*; Piacente, Dean; Rice, Amy; Dideo,                                    Email string among in-house counsel and employees regarding NPBL strategy contains in-house counsel's
CSX_Priv_03669   CSXT0139874   CSXT0139875   3/22/2018                  Outlook Message File     RE: NBPL Escalation Strategy        Patelli, John*      Armbrust, Steven*                                                                          Tony; Sullivan, Morgen*                      Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among outside counsel and in-house counsel regarding employment separation agreement
CSX_Priv_03670   CSXT0139876   CSXT0139876   3/22/2018                  Outlook Message File     Confidential                        Armbrust, Steven*   Baum, Edwin*                                                           Armbrust, Steven*   Burns, Michael*                              Attorney-Client; Work Product    requests outside counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                 Goldman, Nathan*; Rice,
                                                                                                                                                                                                 Amy; Dideo, Tony; Armbrust,
                                                                                                                                                                                                 Steven*; Sullivan, Morgen*;                                                                                                      Email string among in-house counsel and employees regarding NPBL strategy contains in-house counsel's
CSX_Priv_03671   CSXT0139887   CSXT0139888   3/23/2018                  Outlook Message File     Re: NBPL Escalation Strategy        Burns, Michael*     Piacente, Dean                          Girardot, Robert                                                                                Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email among in-house counsel regarding employment separation agreement contains in-house counsel’s
CSX_Priv_02507   CSXT0100321   CSXT0100321   3/23/2018                  Outlook Message File     Email to Drew                       Burns, Michael*     Armbrust, Steven*; Sullivan, Morgen*                                                                                                    Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Email string among in-house counsel regarding employment separation agreement requests and contains in-
CSX_Priv_02508   CSXT0100322   CSXT0100322   3/23/2018                  Outlook Message File     RE: Email to Drew                   Burns, Michael*     Sullivan, Morgen*; Armbrust, Steven*                                                                                                    Attorney-Client; Work Product    house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                 Goldman, Nathan*;
                                                                                                                                                                                                 Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                 Dideo, Tony; Armbrust,                                                                                                           Email string among in-house counsel and employees regarding NPBL strategy contains in-house counsel's
CSX_Priv_02510   CSXT0100324   CSXT0100325   3/23/2018                  Outlook Message File     Re: NBPL Escalation Strategy        Foote, James        Burns, Michael*                         Steven*; Sullivan, Morgen*                                                                      Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                 Goldman, Nathan*;
                                                                                                                                                                                                 Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                 Dideo, Tony; Armbrust,                                                                                                           Email string among in-house counsel and employees regarding NPBL strategy contains in-house counsel's
CSX_Priv_02511   CSXT0100326   CSXT0100327   3/23/2018 Burns, Michael   Outlook Message File     Re: NBPL Escalation Strategy        Foote, James        Burns, Michael*                         Steven*; Sullivan, Morgen*                                                                      Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                    Burns, Michael*; Foote, James; Goldman,                                       Email string among outside counsel, in-house counsel and employees regarding NPBL strategy requests
                                                                                                                                                                                                                                                    Nathan*; Piacente, Dean; Rice, Amy; Dideo,                                    outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03687   CSXT0140014   CSXT0140015   3/26/2018                  Outlook Message File     RE: NBPL Escalation Strategy        Sullivan, Morgen*   Armbrust, Steven*; Baum, Edwin*         O'Brien, Erin*                                     Tony                                         Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                    Burns, Michael*; Foote, James; Goldman,                                       Email string among outside counsel, in-house counsel and employees regarding NPBL strategy requests
                                                                                                                                                                                                                                                    Nathan*; Piacente, Dean; Rice, Amy; Dideo,                                    outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03689   CSXT0140022   CSXT0140024   3/26/2018                  Outlook Message File     [E]RE: NBPL Escalation Strategy     Baum, Edwin*        Sullivan, Morgen*; Armbrust, Steven*    O'Brien, Erin*                                     Tony                                         Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                    Burns, Michael*; Foote, James; Goldman,                                       Email string among outside counsel, in-house counsel and employees regarding NPBL strategy requests
                                                                                                                                                                                                                                                    Nathan*; Piacente, Dean; Rice, Amy; Dideo,                                    outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03690   CSXT0140025   CSXT0140027   3/26/2018                  Outlook Message File     [E]RE: NBPL Escalation Strategy     Baum, Edwin*        Sullivan, Morgen*; Armbrust, Steven*    O'Brien, Erin*                                     Tony                                         Attorney-Client; Work Product    litigation.

                                                                        Microsoft Office Word                                                                                                                                                       Baum, Edwin*; Armbrust, Steven*; Sullivan,                                    Draft black-lined demand letter reflects outside counsel’s and in-house counsel’s legal opinion prepared in
CSX_Priv_03692   CSXT0140115   CSXT0140122   3/27/2018                  Open XML Format                                              Rosenberg, Todd*                                                                                               Morgen*; O'Brien, Erin*; Burns, Michael*     Attorney-Client; Work Product    anticipation of NPBL litigation.

                                                                        Microsoft Office Word                                                                                                                                                       Baum, Edwin*; Armbrust, Steven*; Sullivan,                                    Draft black-lined demand letter reflects outside counsel’s and in-house counsel’s legal opinion prepared in
CSX_Priv_03693   CSXT0140126   CSXT0140133   3/27/2018                  Open XML Format                                              Rosenberg, Todd*                                                                                               Morgen*; O'Brien, Erin*; Burns, Michael*     Attorney-Client; Work Product    anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                                       Baum, Edwin*; Armbrust, Steven*; O'Brien,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03691   CSXT0140098   CSXT0140103   3/27/2018                  Open XML Format                                              Sullivan, Morgen*                                                                                              Erin*; Burns, Michael*                       Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 RE: Rate Proposal for Long Term                         Armbrust, Steven*; Baum, Edwin*;                                                                                                                                         long-term intermodal service requests outside counsel’s and in-house counsel’s legal opinion and contains in-
CSX_Priv_04752   CSXT0140096   CSXT0140097   3/27/2018                  Outlook Message File     Intermodal service to NIT           Sullivan, Morgen*   O'Brien, Erin*; Burns, Michael*                                                                                                         Attorney-Client; Work Product    house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                    Yes

                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 RE: Rate Proposal for Long Term                         Sullivan, Morgen*; Armbrust, Steven*;                                                                                                                                    long-term intermodal service requests outside counsel’s and in-house counsel’s legal opinion and contains
CSX_Priv_04753   CSXT0140104   CSXT0140105   3/27/2018                  Outlook Message File     Intermodal service to NIT           Burns, Michael*     Baum, Edwin*; O'Brien, Erin*                                                                                                            Attorney-Client; Work Product    and discusses in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                  Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 RE: Rate Proposal for Long Term                                                                 Armbrust, Steven*; O'Brien,                                                                                                      long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04754   CSXT0140106   CSXT0140107   3/27/2018                  Outlook Message File     Intermodal service to NIT           Burns, Michael*     Baum, Edwin*; Sullivan, Morgen*         Erin*                                                                                           Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 [E]RE: Rate Proposal for Long                                                                   Armbrust, Steven*; O'Brien,                                                                                                      long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04755   CSXT0140108   CSXT0140109   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Baum, Edwin*        Burns, Michael*; Sullivan, Morgen*      Erin*                                                                                           Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 [E]RE: Rate Proposal for Long                                                                   Armbrust, Steven*; O'Brien,                                                                                                      long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04756   CSXT0140110   CSXT0140111   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Baum, Edwin*        Burns, Michael*; Sullivan, Morgen*      Erin*                                                                                           Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 [E]RE: Rate Proposal for Long                                                                   Armbrust, Steven*; O'Brien,                                                                                                      long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04757   CSXT0140112   CSXT0140114   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Baum, Edwin*        Sullivan, Morgen*; Burns, Michael*      Erin*                                                                                           Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 [E]RE: Rate Proposal for Long                                                                   Armbrust, Steven*; O'Brien,                                                                                                      long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04758   CSXT0140123   CSXT0140125   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Baum, Edwin*        Sullivan, Morgen*; Burns, Michael*      Erin*                                                                                           Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 Re: [E]RE: Rate Proposal for Long                                                               Sullivan, Morgen*; Armbrust,                                                                                                     long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04759   CSXT0140134   CSXT0140136   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Burns, Michael*     Baum, Edwin*                            Steven*; O'Brien, Erin*                                                                         Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 [E]RE: RE: Rate Proposal for Long                                                               Sullivan, Morgen*; Armbrust,                                                                                                     long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04760   CSXT0140137   CSXT0140140   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Baum, Edwin*        Burns, Michael*                         Steven*; O'Brien, Erin*                                                                         Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding rate proposal for
                                                                                                 [E]RE: RE: Rate Proposal for Long                                                               Sullivan, Morgen*; Armbrust,                                                                                                     long-term intermodal service requests, contains and discusses outside counsel’s and in-house counsel’s legal
CSX_Priv_04761   CSXT0140141   CSXT0140144   3/27/2018                  Outlook Message File     Term Intermodal service to NIT      Baum, Edwin*        Burns, Michael*                         Steven*; O'Brien, Erin*                                                                         Attorney-Client; Work Product    opinion prepared in anticipation of NPBL litigation.                                                         Yes

                                                                        Microsoft Office Word                                                                                                                                                       Baum, Edwin*; Armbrust, Steven*; Sullivan,                                    Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03694   CSXT0140151   CSXT0140158   3/28/2018                  Open XML Format                                              Rosenberg, Todd*                                                                                               Morgen*; O'Brien, Erin*; Burns, Michael*     Attorney-Client; Work Product    house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.

                                                                        Microsoft Office Word                                                                                                                                                       Baum, Edwin*; Armbrust, Steven*; Sullivan,                                    Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03696   CSXT0140172   CSXT0140179   3/28/2018                  Open XML Format                                              Rosenberg, Todd*                                                                                               Morgen*; O'Brien, Erin*; Burns, Michael*     Attorney-Client; Work Product    house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                                                                    Burns, Michael*; Sullivan, Morgen*; Swafford,                                 Email string among in-house counsel and employee regarding response deadline for NPBL rate proposal
CSX_Priv_02516   CSXT0100436   CSXT0100437   3/28/2018                  Outlook Message File     RE: Email response - NPBL           Armbrust, Steven*   O'brien, Erin*                                                                             Jermaine                                      Attorney-Client; Work Product   requests and contains in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                 RE: Confirmed No response from                                                                                                                     Burns, Michael*; Sullivan, Morgen*; Swafford,                                 Email string among in-house counsel and employee regarding response deadline for NPBL rate proposal
CSX_Priv_02518   CSXT0100439   CSXT0100440   3/28/2018                  Outlook Message File     TONY                                O'brien, Erin*      Armbrust, Steven*                                                                          Jermaine                                      Attorney-Client; Work Product   requests and contains in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel, in-house counsel and employee regarding rate
                                                                                                 Fwd: Rate Proposal for Long Term                        Sullivan, Morgen*; O'Brien, Erin*;                                                                                                                                       proposal for long-term intermodal service reflects in-house counsel’s legal opinion prepared in anticipation of
CSX_Priv_04762   CSXT0140145   CSXT0140146   3/28/2018                  Outlook Message File     Intermodal service to NIT           Burns, Michael*     Armbrust, Steven*                       Baum, Edwin*                                       Swafford, Jermaine                           Attorney-Client; Work Product    NPBL litigation.                                                                                                    Yes

                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                                                                 Armbrust, Steven*; O'Brien,                                                                                                      letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04763   CSXT0140147   CSXT0140150   3/28/2018                  Outlook Message File     [E]Governance letter                Baum, Edwin*        Sullivan, Morgen*; Burns, Michael*      Erin*; Rosenberg, Todd*                                                                         Attorney-Client; Work Product    and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                                                  Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                                                                 Armbrust, Steven*; O'Brien,                                                                                                      letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04764   CSXT0140168   CSXT0140171   3/28/2018                  Outlook Message File     [E]Governance letter                Baum, Edwin*        Sullivan, Morgen*; Burns, Michael*      Erin*; Rosenberg, Todd*                                                                         Attorney-Client; Work Product    and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes
                                                                                                Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 5 of 9 PageID# 6885


                                                                        Adobe Portable Document                                                                                                                                 Baum, Edwin*; Armbrust, Steven*; Sullivan,                                    Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03695   CSXT0140159   CSXT0140167   3/28/2018                  Format                                                       Rosenberg, Todd*                                                                           Morgen*; O'Brien, Erin*; Burns, Michael*      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.

                                                                        Adobe Portable Document                                                                                                                                 Baum, Edwin*; Armbrust, Steven*; Sullivan,                                    Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03697   CSXT0140180   CSXT0140188   3/28/2018                  Format                                                       Rosenberg, Todd*                                                                           Morgen*; O'Brien, Erin*; Burns, Michael*      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                Rosenberg, Todd*; Armbrust, Steven*;
                                                                        Microsoft Office Word                                                                                                                                   Sullivan, Morgen*; O'Brien, Erin*; Burns,                                     Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03700   CSXT0140226   CSXT0140234   3/29/2018                  Open XML Format                                              Baum, Edwin*                                                                               Michael*                                      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                Rosenberg, Todd*; Armbrust, Steven*;
                                                                        Microsoft Office Word                                                                                                                                   Sullivan, Morgen*; O'Brien, Erin*; Burns,                                     Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03701   CSXT0140241   CSXT0140249   3/29/2018                  Open XML Format                                              Baum, Edwin*                                                                               Michael*                                      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                Rosenberg, Todd*; Armbrust, Steven*;
                                                                        Microsoft Office Word                                                                                                                                   Sullivan, Morgen*; O'Brien, Erin*; Burns,                                     Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03704   CSXT0140285   CSXT0140292   3/29/2018                  Open XML Format                                              Baum, Edwin*                                                                               Michael*                                      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                Rosenberg, Todd*; Armbrust, Steven*;
                                                                        Microsoft Office Word                                                                                                                                   Sullivan, Morgen*; O'Brien, Erin*; Burns,                                     Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03705   CSXT0140300   CSXT0140307   3/29/2018                  Open XML Format                                              Baum, Edwin*                                                                               Michael*                                      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                Rosenberg, Todd*; Armbrust, Steven*;
                                                                        Microsoft Office Word                                                                                                                                   Sullivan, Morgen*; O'Brien, Erin*; Burns,                                     Draft black-lined demand letter reflects outside counsel's legal opinion and contains information provided to in-
CSX_Priv_03708   CSXT0140349   CSXT0140356   3/29/2018                  Open XML Format                                              Baum, Edwin*                                                                               Michael*                                      Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                              Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                   Rosenberg, Todd*; Baum, Edwin*; Armbrust,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03698   CSXT0140193   CSXT0140200   3/29/2018                  Open XML Format                                              Sullivan, Morgen*                                                                          Steven*; O'Brien, Erin*; Burns, Michael*  Attorney-Client; Work Product       litigation.
                                                                                                                                                                                                                                                                                                              Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                   Rosenberg, Todd*; Baum, Edwin*; Armbrust,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03699   CSXT0140206   CSXT0140213   3/29/2018                  Open XML Format                                              Sullivan, Morgen*                                                                          Steven*; O'Brien, Erin*; Burns, Michael*  Attorney-Client; Work Product       litigation.

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                                                                  Armbrust, Steven*; O'Brien,                                                                                 letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04765   CSXT0140189   CSXT0140192   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Baum, Edwin*; Burns, Michael*            Erin*; Rosenberg, Todd*                                                     Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                                                                  Armbrust, Steven*; O'Brien,                                                                                 letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04766   CSXT0140201   CSXT0140205   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Baum, Edwin*; Burns, Michael*            Erin*; Rosenberg, Todd*                                                     Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         O'Brien, Erin*; Baum, Edwin*; Burns,     Armbrust, Steven*;                                                                                          letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04767   CSXT0140214   CSXT0140219   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Michael*                                 Rosenberg, Todd*                                                            Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Sullivan, Morgen*; O'Brien, Erin*; Burns, Armbrust, Steven*;                                                                                         letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04768   CSXT0140220   CSXT0140225   3/29/2018                  Outlook Message File      [E]RE: Governance letter           Baum, Edwin*        Michael*                                  Rosenberg, Todd*                                                           Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Sullivan, Morgen*; O'Brien, Erin*; Burns, Armbrust, Steven*;                                                                                         letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04769   CSXT0140235   CSXT0140240   3/29/2018                  Outlook Message File      [E]RE: Governance letter           Baum, Edwin*        Michael*                                  Rosenberg, Todd*                                                           Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes
                                                                                                                                                                                                                                                                                                              Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                   Rosenberg, Todd*; Baum, Edwin*; Armbrust,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03702   CSXT0140256   CSXT0140263   3/29/2018                  Open XML Format                                              Sullivan, Morgen*                                                                          Steven*; O'Brien, Erin*; Burns, Michael*  Attorney-Client; Work Product       litigation.
                                                                                                                                                                                                                                                                                                              Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                   Rosenberg, Todd*; Baum, Edwin*; Armbrust,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03703   CSXT0140270   CSXT0140277   3/29/2018                  Open XML Format                                              Sullivan, Morgen*                                                                          Steven*; O'Brien, Erin*; Burns, Michael*  Attorney-Client; Work Product       litigation.

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Baum, Edwin*; O'Brien, Erin*; Burns,     Armbrust, Steven*;                                                                                          letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04770   CSXT0140250   CSXT0140255   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Michael*                                 Rosenberg, Todd*                                                            Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Baum, Edwin*; O'Brien, Erin*; Burns,     Armbrust, Steven*;                                                                                          letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04771   CSXT0140264   CSXT0140269   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Michael*                                 Rosenberg, Todd*                                                            Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Sullivan, Morgen*; O'Brien, Erin*; Burns, Armbrust, Steven*;                                                                                         letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04772   CSXT0140278   CSXT0140284   3/29/2018                  Outlook Message File      [E]RE: Governance letter           Baum, Edwin*        Michael*                                  Rosenberg, Todd*                                                           Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Sullivan, Morgen*; O'Brien, Erin*; Burns, Armbrust, Steven*;                                                                                         letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04773   CSXT0140293   CSXT0140299   3/29/2018                  Outlook Message File      [E]RE: Governance letter           Baum, Edwin*        Michael*                                  Rosenberg, Todd*                                                           Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes
                                                                                                                                                                                                                                                                                                              Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                   Rosenberg, Todd*; Baum, Edwin*; Armbrust,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03706   CSXT0140315   CSXT0140322   3/29/2018                  Open XML Format                                              Sullivan, Morgen*                                                                          Steven*; O'Brien, Erin*; Burns, Michael*  Attorney-Client; Work Product       litigation.
                                                                                                                                                                                                                                                                                                              Draft demand letter reflects in-house counsel's legal opinion and contains information provided to outside
                                                                        Microsoft Office Word                                                                                                                                   Rosenberg, Todd*; Baum, Edwin*; Armbrust,                                     counsel and in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03707   CSXT0140330   CSXT0140337   3/29/2018                  Open XML Format                                              Sullivan, Morgen*                                                                          Steven*; O'Brien, Erin*; Burns, Michael*  Attorney-Client; Work Product       litigation.

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Baum, Edwin*; O'Brien, Erin*; Burns,     Armbrust, Steven*;                                                                                          letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04774   CSXT0140308   CSXT0140314   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Michael*                                 Rosenberg, Todd*                                                            Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                         Baum, Edwin*; O'Brien, Erin*; Burns,     Armbrust, Steven*;                                                                                          letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04775   CSXT0140323   CSXT0140329   3/29/2018                  Outlook Message File      RE: Governance letter              Sullivan, Morgen*   Michael*                                 Rosenberg, Todd*                                                            Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Redacted portion of email string among outside counsel and in-house counsel regarding draft governance
                                                                                                                                                                                                                                Baum, Edwin*; Burns, Michael*; Rosenberg,                                     letter and rate proposal for long-term intermodal service requests, contains and discusses outside counsel’s
CSX_Priv_04776   CSXT0140342   CSXT0140348    4/2/2018                  Outlook Message File      FW: Governance letter              O'Brien, Erin*      Armbrust, Steven*                                                      Todd*; Sullivan, Morgen*                      Attorney-Client; Work Product   and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.                                   Yes

                                                                                                                                                                                                                                                                                                              Email among in-house counsel regarding NPBL governance documents provides information requested by in-
CSX_Priv_03709   CSXT0140357   CSXT0140357    4/2/2018                  Outlook Message File      NPBL Key Governance Documents      O'Brien, Erin*      Sullivan, Morgen*; Burns, Michael*                                                                                   Attorney-Client; Work Product   house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                  Burns, Michael*; Armbrust,                                                                                  Email among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s legal
CSX_Priv_02522   CSXT0100474   CSXT0100474    4/3/2018                  Outlook Message File      NPBL Draft Governance Letter       Sullivan, Morgen*   Goldman, Nathan*                         Steven*                                                                     Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                  Burns, Michael*; Armbrust,                                                                                  Email among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s legal
CSX_Priv_02524   CSXT0100483   CSXT0100483    4/3/2018                  Outlook Message File      NPBL Draft Governance Letter       Sullivan, Morgen*   Goldman, Nathan*                         Steven*                                                                     Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                Burns, Michael*; Goldman, Nathan*; Patelli,                                   Email string among in-house counsel regarding NPBL action plan requests, contains and discusses in-house
CSX_Priv_02526   CSXT0100492   CSXT0100493    4/3/2018                  Outlook Message File      RE: NPBL Draft Governance Letter   Armbrust, Steven*   Shudtz, Peter*                                                         John*                                         Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                  Burns, Michael*; Armbrust,                                                                                  Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_02527   CSXT0100494   CSXT0100494    4/3/2018                  Outlook Message File      RE: NPBL Draft Governance Letter   Goldman, Nathan*    Sullivan, Morgen*                        Steven*                                                                     Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                  Burns, Michael*; Armbrust,                                                                                  Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_02528   CSXT0100495   CSXT0100495    4/3/2018 Burns, Michael   Outlook Message File      RE: NPBL Draft Governance Letter   Goldman, Nathan*    Sullivan, Morgen*                        Steven*                                                                     Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.

                                                                                                  CONFIDENTIAL -- NPBL -- pre-                           Swafford, Jermaine; Burns, Michael*;                                                                                                                 Email among outside counsel, in-house counsel and employee regarding NPBL board meeting preparation
CSX_Priv_02529   CSXT0100515   CSXT0100515    4/4/2018                  Outlook Message File      Board meeting prep session         Armbrust, Steven*   Sullivan, Morgen*; Baum, Edwin*                                                                                      Attorney-Client; Work Product   requests outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                  CONFIDENTIAL -- NPBL -- pre-                                                                                                  Baum, Edwin*; Burns, Michael*; Sullivan,                                      Email among outside counsel, in-house counsel and employees regarding NPBL board meeting preparation
CSX_Priv_02530   CSXT0100516   CSXT0100516    4/4/2018                  Outlook Message File      Board meeting prep session         Armbrust, Steven*   Katz, Claudia                                                          Morgen*; Swafford, Jermaine                   Attorney-Client; Work Product   requests outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                               Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 6 of 9 PageID# 6886


                                                                                                CONFIDENTIAL -- NPBL -- pre-                                                                                                     Baum, Edwin*; Burns, Michael*; Sullivan,                                       Email among outside counsel, in-house counsel and employees regarding NPBL board meeting preparation
CSX_Priv_02531   CSXT0100517   CSXT0100517   4/4/2018                  Outlook Message File     Board meeting prep session            Armbrust, Steven*   Humphries, Stephanie; Goss, Shannon                                    Morgen*; Swafford, Jermaine                   Attorney-Client; Work Product    requests outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Sullivan,
                                                                                                Re: Confidential -- Summary of                                                                    Morgen*; Girardot, Robert;                                                                                    Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03719   CSXT0140431   CSXT0140433   4/4/2018 Young, Jason     Outlook Message File     telephonic meeting w/ NPBL            Goldman, Nathan*    Armbrust, Steven*                       Dideo, Tony                                                                  Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                 Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                RE: Confidential -- Summary of                                                                                                   Amy; Burns, Michael*; Girardot, Robert;                                        Email string among outside counsel, in-house counsel and employees regarding NPBL rate proposal meeting
CSX_Priv_03720   CSXT0140434   CSXT0140436   4/4/2018                  Outlook Message File     telephonic meeting w/ NPBL            Armbrust, Steven*   Baum, Edwin*; O'Brien, Erin*            Sullivan, Morgen*              Dideo, Tony                                   Attorney-Client; Work Product    contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Sullivan,
                                                                                                RE: Confidential -- Summary of                                                                    Morgen*; Girardot, Robert;                                                                                    Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03721   CSXT0140437   CSXT0140439   4/4/2018                  Outlook Message File     telephonic meeting w/ NPBL            Armbrust, Steven*   Goldman, Nathan*                        Dideo, Tony                                                                  Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Sullivan,
                                                                                                RE: Confidential -- Summary of                                                                    Morgen*; Girardot, Robert;                                                                                    Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03722   CSXT0140440   CSXT0140442   4/4/2018 Burns, Michael   Outlook Message File     telephonic meeting w/ NPBL            Armbrust, Steven*   Goldman, Nathan*                        Dideo, Tony                                                                  Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                Email string among outside counsel, in-house counsel and employees regarding NPBL meeting follow-up
                                                                                                                                                                                                                                 Sullivan, Morgen*; Baum, Edwin*; O'Brien,                                      reflects a request for outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03723   CSXT0140443   CSXT0140443   4/4/2018                  Outlook Message File     FW: NPBL - follow up                  Armbrust, Steven*   Burns, Michael*                                                        Erin*; Dideo, Tony; Girardot, Robert          Attorney-Client; Work Product    litigation.
                                                                                                Re: Accepted: FW: NPBL - follow                                                                                                                                                                                 Email string among in-house counsel regarding NPBL action plan reflects a request for in-house counsel’s
CSX_Priv_02534   CSXT0100520   CSXT0100520   4/4/2018                  Outlook Message File     up                                    Burns, Michael*     Armbrust, Steven*                                                                                                    Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                 Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                RE: Confidential -- Summary of                                                                                                   Amy; Burns, Michael*; Sullivan, Morgen*;                                       Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03725   CSXT0140445   CSXT0140447   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Shudtz, Peter*      Armbrust, Steven*; Patelli, John*                                      Girardot, Robert; Dideo, Tony                 Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                                                 Shudtz, Peter*; Goldman, Nathan*; Piacente,
                                                                                                Re: Confidential -- Summary of                                                                                                   Dean; Rice, Amy; Burns, Michael*; Sullivan,                                    Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03726   CSXT0140448   CSXT0140450   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Patelli, John*      Armbrust, Steven*                                                      Morgen*; Girardot, Robert; Dideo, Tony       Attorney-Client; Work Product     house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                       Microsoft Office Word                                                                                                                                     Armbrust, Steven*; Burns, Michael*; O'Brien,                                   Draft letter regarding NPBL governance reflects in-house counsel's legal opinion prepared in anticipation of
CSX_Priv_03728   CSXT0140454   CSXT0140462   4/5/2018                  Open XML Format                                                Sullivan, Morgen*                                                                          Erin*                                        Attorney-Client; Work Product     NPBL litigation.
                                                                                                RE: Confidential -- Summary of                            Armbrust, Steven*; Burns, Michael*;                                    Goldman, Nathan*; Piacente, Dean; Rice,                                        Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03727   CSXT0140451   CSXT0140453   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Sullivan, Morgen*   O'Brien, Erin*                                                         Amy; Girardot, Robert; Dideo, Tony           Attorney-Client; Work Product     house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                          Piacente, Dean; Armbrust, Steven*;
                                                                                                RE: Confidential -- Summary of                            Rice, Amy; Burns, Michael*; Sullivan,   Girardot, Robert; Dideo,                                                                                      Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03729   CSXT0140463   CSXT0140464   4/5/2018 Burns, Michael   Outlook Message File     telephonic meeting w/ NPBL            Goldman, Nathan*    Morgen*                                 Tony; Warren, Carl                                                           Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                          Piacente, Dean; Armbrust, Steven*;
                                                                                                RE: Confidential -- Summary of                            Rice, Amy; Burns, Michael*; Sullivan,   Girardot, Robert; Dideo,                                                                                      Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03730   CSXT0140465   CSXT0140467   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Goldman, Nathan*    Morgen*                                 Tony; Warren, Carl                                                           Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                          Girardot, Robert; Piacente, Dean;
                                                                                                RE: Confidential -- Summary of                            Armbrust, Steven*; Rice, Amy; Burns,                                                                                                                  Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03731   CSXT0140468   CSXT0140470   4/5/2018 Burns, Michael   Outlook Message File     telephonic meeting w/ NPBL            Goldman, Nathan*    Michael*; Sullivan, Morgen*             Dideo, Tony; Warren, Carl                                                    Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                          Girardot, Robert; Piacente, Dean;
                                                                                                RE: Confidential -- Summary of                            Armbrust, Steven*; Rice, Amy; Burns,                                                                                                                  Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03732   CSXT0140471   CSXT0140473   4/5/2018 Girardot, Rob    Outlook Message File     telephonic meeting w/ NPBL            Goldman, Nathan*    Michael*; Sullivan, Morgen*             Dideo, Tony; Warren, Carl                                                    Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                          Girardot, Robert; Piacente, Dean;
                                                                                                RE: Confidential -- Summary of                            Armbrust, Steven*; Rice, Amy; Burns,                                                                                                                  Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_03733   CSXT0140474   CSXT0140476   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Goldman, Nathan*    Michael*; Sullivan, Morgen*             Dideo, Tony; Warren, Carl                                                    Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                                                 Armbrust, Steven*; Goldman, Nathan*;
                                                                                                FW: Confidential -- Summary of                                                                                                   Sullivan, Morgen*; Burns, Michael*; Girardot,                                  Email string among in-house counsel and employees regarding NPBL governance letter and action plan
CSX_Priv_03734   CSXT0140477   CSXT0140480   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Warren, Carl        Davis, Shantel                                                         Rob; Piacente, Dean; Rice, Amy; DiDeo, Tony Attorney-Client; Work Product      requests and contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                 Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                FW: Confidential -- Summary of                                                                    Burns, Michael*; Sullivan,     Amy; Girardot, Robert; Dideo, Tony; Warren,                                    Email string among outside counsel, in-house counsel and employees regarding NPBL rate proposal meeting
CSX_Priv_03735   CSXT0140481   CSXT0140483   4/5/2018                  Outlook Message File     telephonic meeting w/ NPBL            Armbrust, Steven*   Baum, Edwin*                            Morgen*; O'Brien, Erin*        Carl                                          Attorney-Client; Work Product    contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                 Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                FW: Confidential -- Summary of                                                                    Burns, Michael*; Sullivan,     Amy; Girardot, Robert; Dideo, Tony; Warren,                                    Email string among outside counsel, in-house counsel and employees regarding NPBL rate proposal meeting
CSX_Priv_03736   CSXT0140484   CSXT0140487   4/5/2018 Burns, Michael   Outlook Message File     telephonic meeting w/ NPBL            Armbrust, Steven*   Baum, Edwin*                            Morgen*; O'Brien, Erin*        Carl                                          Attorney-Client; Work Product    contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                Email among outside counsel and in-house counsel forwarding document collection, including in-house
                                                                                                                                                          Burns, Michael*; Sullivan, Morgen*;                                                                                                                   counsel's annotations, contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation. A
CSX_Priv_03737   CSXT0140488   CSXT0140503   4/5/2018 Burns, Michael   Outlook Message File     FW: Port of Virginia Update           Armbrust, Steven*   O'Brien, Erin*; Baum, Edwin*                                                                                         Attorney-Client; Work Product    copy of the collected portion has been produced elsewhere.

                                                                                                FW: NPBL - follow up -- meeting                                                                                                  Sullivan, Morgen*; Baum, Edwin*; O'Brien,                                      Email string among outside counsel, in-house counsel and employees regarding NPBL meeting reflects a
CSX_Priv_03738   CSXT0140504   CSXT0140504   4/5/2018                  Outlook Message File     location -- Room 13063                Armbrust, Steven*   Burns, Michael*                                                        Erin*; Dideo, Tony; Girardot, Robert          Attorney-Client; Work Product    request for outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                  O'brien, Erin*; Armbrust,                                                                                     Email among in-house counsel regarding NPBL action plan requests in-house counsel’s legal opinion
CSX_Priv_02537   CSXT0100523   CSXT0100523   4/5/2018                  Outlook Message File     Updated Governance Letter             Sullivan, Morgen*   Burns, Michael*                         Steven*                                                                      Attorney-Client; Work Product    prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                  O'brien, Erin*; Armbrust,                                                                                     Email string among in-house counsel regarding NPBL action plan requests in-house counsel’s legal opinion
CSX_Priv_02539   CSXT0100533   CSXT0100533   4/5/2018                  Outlook Message File     Re: Updated Governance Letter         Sullivan, Morgen*   Burns, Michael*                         Steven*                                                                       Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                 Goldman, Nathan*; Rice, Amy; Burns,
                                                                                                                                                                                                                                 Michael*; Sullivan, Morgen*; Girardot, Robert;
                                                                                                Fwd: Confidential -- NPBL -- action                                                                                              Dideo, Tony; O'Brien, Erin*; Armbrust,                                         Email string among in-house counsel and employees regarding NPBL board meeting preparation contains
CSX_Priv_03739   CSXT0140505   CSXT0140510   4/5/2018                  Outlook Message File     plan                                  Warren, Carl        Davis, Shantel                                                         Steven*                                        Attorney-Client; Work Product   and relays in-house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Girardot,
                                                                                                                                                                                                  Robert; Dideo, Tony;
                                                                                                Re: Confidential -- NPBL -- action                                                                Sullivan, Morgen*; O'Brien,                                                                                   Email string among in-house counsel and employees regarding NPBL board meeting preparation contains in-
CSX_Priv_03740   CSXT0140511   CSXT0140515   4/5/2018 Burns, Michael   Outlook Message File     plan                                  Goldman, Nathan*    Armbrust, Steven*                       Erin*; Warren, Carl                                                          Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Rice, Amy; Burns, Michael*;
                                                                                                                                                                                                  Girardot, Robert; Dideo,
                                                                                                RE: Confidential -- NPBL -- action                                                                Tony; Sullivan, Morgen*;                                                                                      Email string among in-house counsel and employees regarding NPBL board meeting preparation contains in-
CSX_Priv_03741   CSXT0140516   CSXT0140521   4/6/2018                  Outlook Message File     plan                                  Piacente, Dean      Goldman, Nathan*; Armbrust, Steven*     O'Brien, Erin*; Warren, Carl                                                 Attorney-Client; Work Product    house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                Email string among in-house counsel regarding NPBL action plan requests and contains in-house counsel’s
CSX_Priv_02540   CSXT0100534   CSXT0100534   4/6/2018                  Outlook Message File     FW: Updated Governance Letter         Sullivan, Morgen*   Armbrust, Steven*                       O'brien, Erin*                 Burns, Michael*                               Attorney-Client; Work Product    legal opinion prepared in anticipation of NPBL litigation.
                                                                                                RE: Question on governance                                                                                                                                                                                      Email string among in-house counsel regarding NPBL action plan requests, contains and discusses in-house
CSX_Priv_02542   CSXT0100544   CSXT0100545   4/6/2018 Burns, Michael   Outlook Message File     address                               Armbrust, Steven*   Burns, Michael*; Sullivan, Morgen*                                                                                    Attorney-Client; Work Product   counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                 Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                                                                                                                                                 Amy; Burns, Michael*; Sullivan, Morgen*;
                                                                                                FW: Confidential -- NPBL -- action                                                                                               Girardot, Robert; Dideo, Tony; O'Brien, Erin*;                                 Email string among in-house counsel and employees regarding NPBL board meeting preparation contains in-
CSX_Priv_03742   CSXT0140522   CSXT0140526   4/6/2018                  Outlook Message File     plan                                  Armbrust, Steven*   Shudtz, Peter*; Patelli, John*                                         Warren, Carl                                   Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Girardot,
                                                                                                                                                                                                  Robert; Dideo, Tony;
                                                                                                RE: Confidential -- NPBL --                                                                       Sullivan, Morgen*; O'Brien,                                                                                   Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03743   CSXT0140537   CSXT0140541   4/6/2018 Burns, Michael   Outlook Message File     governance letter sent (attached)     Armbrust, Steven*   Goldman, Nathan*                        Erin*; Warren, Carl                                                          Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 7 of 9 PageID# 6887


                                                                                                                                                                                                  Goldman, Nathan*;
                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Girardot, Robert; Dideo,
                                                                                                 Re: Confidential -- NPBL --                                                                      Tony; Sullivan, Morgen*;                                                                                                          Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03744   CSXT0140551   CSXT0140555    4/6/2018                  Outlook Message File     governance letter sent (attached)     Burns, Michael*     Armbrust, Steven*                      O'Brien, Erin*; Warren, Carl                                                                     Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Girardot,
                                                                                                                                                                                                  Robert; Dideo, Tony;
                                                                                                 RE: Confidential -- NPBL --                                                                      Sullivan, Morgen*; O'Brien,                                                                                                       Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03745   CSXT0140556   CSXT0140561    4/6/2018 Young, Jason     Outlook Message File     governance letter sent (attached)     Goldman, Nathan*    Armbrust, Steven*                      Erin*; Warren, Carl                                                                              Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Girardot,
                                                                                                                                                                                                  Robert; Dideo, Tony;
                                                                                                 RE: Confidential -- NPBL --                                                                      Sullivan, Morgen*; O'Brien,                                                                                                       Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03746   CSXT0140562   CSXT0140567    4/6/2018                  Outlook Message File     governance letter sent (attached)     Goldman, Nathan*    Armbrust, Steven*                      Erin*; Warren, Carl                                                                              Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                  Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                  Burns, Michael*; Girardot,
                                                                                                                                                                                                  Robert; Dideo, Tony;
                                                                                                 RE: Confidential -- NPBL --                                                                      Sullivan, Morgen*; O'Brien,                                                                                                       Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03747   CSXT0140568   CSXT0140573    4/6/2018 Burns, Michael   Outlook Message File     governance letter sent (attached)     Goldman, Nathan*    Armbrust, Steven*                      Erin*; Warren, Carl                                                                               Attorney-Client; Work Product   counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                     Armbrust, Steven*; Goldman, Nathan*;
                                                                                                                                                                                                                                                     Sullivan, Morgen*; Burns, Michael*; O'Brien,
                                                                                                 FW: Confidential -- NPBL --                                                                                                                         Erin*; Rice, Amy; Girardot, Rob; DiDeo, Tony;                                  Email string among in-house counsel and employees regarding NPBL governance letter and action plan
CSX_Priv_03748   CSXT0140574   CSXT0140578    4/6/2018                  Outlook Message File     governance letter sent (attached)     Warren, Carl        Davis, Shantel                                                                            Piacente, Dean                                 Attorney-Client; Work Product   requests and contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                                                                                                                                                                     Amy; Burns, Michael*; Sullivan, Morgen*;
                                                                                                 FW: Confidential -- NPBL --                                                                                                                         Girardot, Robert; Dideo, Tony; O'Brien, Erin*;                                 Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03749   CSXT0140588   CSXT0140593    4/6/2018                  Outlook Message File     governance letter sent (attached)     Armbrust, Steven*   Sutter, Andrew*                                                                           Warren, Carl                                   Attorney-Client; Work Product   counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                                                                                                                                                                     Amy; Burns, Michael*; Sullivan, Morgen*;                                       Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
                                                                                                 HIGHLY CONFIDENTIAL -- NPBL -                                                                                                                       Girardot, Robert; Dideo, Tony; O'Brien, Erin*;                                 requests outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation
CSX_Priv_03750   CSXT0140603   CSXT0140608    4/7/2018                  Outlook Message File     - governance letter sent (attached)   Armbrust, Steven*   Gitomer, Louis*                                                       Armbrust, Steven*   Warren, Carl                                   Attorney-Client; Work Product   of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 [E]RE: HIGHLY CONFIDENTIAL --                                                                                                                       Amy; Burns, Michael*; Sullivan, Morgen*;                                       Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
                                                                                                 NPBL -- governance letter sent                                                                                                                      Girardot, Robert; Dideo, Tony; O'Brien, Erin*;                                 requests outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation
CSX_Priv_03751   CSXT0140618   CSXT0140623    4/8/2018                  Outlook Message File     (attached)                            Gitomer, Louis*     Armbrust, Steven*                                                                         Warren, Carl                                   Attorney-Client; Work Product   of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 [E]RE: HIGHLY CONFIDENTIAL --                                                                                                                       Amy; Burns, Michael*; Sullivan, Morgen*;                                       Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
                                                                                                 NPBL -- governance letter sent                                                                                                                      Girardot, Robert; Dideo, Tony; O'Brien, Erin*;                                 requests outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation
CSX_Priv_03752   CSXT0140624   CSXT0140629    4/8/2018                  Outlook Message File     (attached)                            Gitomer, Louis*     Armbrust, Steven*                                                                         Warren, Carl                                   Attorney-Client; Work Product   of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                                                                                                                                                                     Amy; Burns, Michael*; Girardot, Robert;
                                                                                                 FW: Confidential -- NPBL --                                                                                                                         Dideo, Tony; Sullivan, Morgen*; O'brien,                                       Email string among in-house counsel, in-house legal staff and employees regarding NPBL governance letter
CSX_Priv_02545   CSXT0100566   CSXT0100566    4/9/2018                  Outlook Message File     governance letter sent (attached)     Armbrust, Steven*   Hilf, Cathy^                                                                              Erin*; Warren, Carl                            Attorney-Client; Work Product   reflects a request for in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 NPBL 2016 Annual Shareholder                                                                                                                                                                                                       Email string among in-house counsel regarding NPBL shareholder report provides information to in-house
CSX_Priv_03753   CSXT0140630   CSXT0140630    4/9/2018                  Outlook Message File     Report                                Armbrust, Steven*   Burns, Michael*; Sullivan, Morgen*                                    Armbrust, Steven*                                                 Attorney-Client                  counsel for the purpose of rendering a legal opinion.
                                                                                                 NPBL 2016 Annual Shareholder                                                                                                                                                                                                       Email string among in-house counsel regarding NPBL shareholder report provides information to in-house
CSX_Priv_03755   CSXT0140653   CSXT0140653    4/9/2018 Burns, Michael   Outlook Message File     Report                                Armbrust, Steven*   Burns, Michael*; Sullivan, Morgen*                                                                                                      Attorney-Client                  counsel for the purpose of rendering a legal opinion.
                                                                        Microsoft Office Word                                                                                                                                                                                                                                       Draft outline regarding NPBL board reflects in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02549   CSXT0100579   CSXT0100579    4/9/2018                  Open XML Format                                                Sullivan, Morgen*                                                                                             Armbrust, Steven*; Burns, Michael*            Attorney-Client; Work Product    litigation.
                                                                                                 NPBL Independent Director                                                                                                                                                                                                          Email among in-house counsel regarding NPBL board requests in-house counsel's legal opinion prepared in
CSX_Priv_02548   CSXT0100578   CSXT0100578    4/9/2018                  Outlook Message File     Candidates                            Sullivan, Morgen*   Armbrust, Steven*; Burns, Michael*                                                                                                      Attorney-Client; Work Product    anticipation of NPBL litigation.
                                                                                                 RE: NPBL Independent Director                                                                                                                                                                                                      Email string among in-house counsel regarding NPBL independent director candidates requests and contains
CSX_Priv_02550   CSXT0100580   CSXT0100581   4/10/2018                  Outlook Message File     Candidates                            Sullivan, Morgen*   Armbrust, Steven*; Burns, Michael*                                                                                                      Attorney-Client; Work Product    in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                                                                     Goldman, Nathan*; Rice, Amy; Burns,
                                                                                                 RE: Confidential -- NPBL --                                                                                                                         Michael*; Sullivan, Morgen*; Girardot, Robert;                                 Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03758   CSXT0140677   CSXT0140681   4/11/2018                  Outlook Message File     governance letter sent (attached)     Armbrust, Steven*   Piacente, Dean                                                        Armbrust, Steven*   Dideo, Tony; O'Brien, Erin*; Warren, Carl      Attorney-Client; Work Product   counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 FW: Confidential -- NPBL --                               Burns, Michael*; Sullivan, Morgen*;                                                       Amy; Girardot, Robert; Dideo, Tony; O'Brien,                                   Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
CSX_Priv_03759   CSXT0140682   CSXT0140686   4/11/2018                  Outlook Message File     governance letter sent (attached)     Armbrust, Steven*   Baum, Edwin*                                                          Armbrust, Steven*   Erin*; Warren, Carl                            Attorney-Client; Work Product   contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                     Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 FW: Confidential -- NPBL --                               Burns, Michael*; Sullivan, Morgen*;                                                       Amy; Girardot, Robert; Dideo, Tony; O'Brien,                                   Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
CSX_Priv_03760   CSXT0140687   CSXT0140691   4/11/2018 Burns, Michael   Outlook Message File     governance letter sent (attached)     Armbrust, Steven*   Baum, Edwin*                                                                              Erin*; Warren, Carl                            Attorney-Client; Work Product   contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                    Email among outside counsel, in-house counsel and employee regarding NPBL board meeting preparation
                                                                                                                                                           Swafford, Jermaine; Burns, Michael*;                                                                                                                                     reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02551   CSXT0100582   CSXT0100582   4/12/2018                  Outlook Message File     NPBL pregame and dry-run              Armbrust, Steven*   Sullivan, Morgen*; Baum, Edwin*                                                                                                         Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                    Email among outside counsel, in-house counsel and employees regarding NPBL board meeting preparation
                                                                                                                                                                                                                                                     Baum, Edwin*; Burns, Michael*; Sullivan,                                       reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02552   CSXT0100583   CSXT0100583   4/12/2018                  Outlook Message File     NPBL pregame and dry-run              Armbrust, Steven*   Humphries, Stephanie; Goss, Shannon                                                       Morgen*; Swafford, Jermaine                   Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                    Email among outside counsel, in-house counsel and employees regarding NPBL board meeting preparation
                                                                                                                                                                                                                                                     Baum, Edwin*; Burns, Michael*; Sullivan,                                       reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02553   CSXT0100584   CSXT0100584   4/12/2018                  Outlook Message File     NPBL pregame and dry-run              Armbrust, Steven*   Katz, Claudia                                                                             Morgen*; Swafford, Jermaine                   Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                    Email among outside counsel, in-house counsel and employee regarding NPBL board meeting preparation
                                                                                                 NPBL pregame and dry-run [                                Swafford, Jermaine; Burns, Michael*;                                                                                                                                     reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02554   CSXT0100585   CSXT0100585   4/12/2018                  Outlook Message File     reschedule to 8am]                    Armbrust, Steven*   Sullivan, Morgen*; Baum, Edwin*                                                                                                         Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                    Email among outside counsel, in-house counsel and employees regarding NPBL board meeting preparation
                                                                                                 NPBL pregame and dry-run [                                                                                                                          Baum, Edwin*; Burns, Michael*; Sullivan,                                       reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_02555   CSXT0100586   CSXT0100586   4/12/2018                  Outlook Message File     reschedule to 8am]                    Armbrust, Steven*   Humphries, Stephanie; Goss, Shannon                                                       Morgen*; Swafford, Jermaine                   Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                    Email among outside counsel, in-house counsel and employees regarding NPBL board meeting preparation
                                                                                                 NPBL pregame and dry-run [                                                                                                                          Baum, Edwin*; Burns, Michael*; Sullivan,                                       reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL
CSX_Priv_03761   CSXT0140692   CSXT0140692   4/12/2018                  Outlook Message File     reschedule to 8am]                    Armbrust, Steven*   Katz, Claudia                                                                             Morgen*; Swafford, Jermaine                   Attorney-Client; Work Product    litigation.
                                                                                                 Accepted: NPBL pregame and dry-                                                                                                                                                                                                    Email among in-house counsel regarding NPBL board meeting preparation reflects a request for in-house
CSX_Priv_02556   CSXT0100587   CSXT0100587   4/12/2018                  Outlook Message File     run [ reschedule to 8am]              Burns, Michael*     Armbrust, Steven*                                                                                                                       Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                 FW: Meeting with VPA/John                                                                                                                                                                                                          Email among outside counsel and in-house counsel forwarding document collection contains information
                                                                                                 Reinhart... VPA "looking to open up                       Burns, Michael*; Sullivan, Morgen*;                                                                                                                                      provided to outside counsel and in-house counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_03771   CSXT0140760   CSXT0140761   4/12/2018                  Outlook Message File     NPBL" [historical document]           Armbrust, Steven*   Baum, Edwin*                                                          Armbrust, Steven*                                                 Attorney-Client; Work Product    anticipation of NPBL litigation. A copy of the collected portion has been produced elsewhere.

                                                                                                 FW: Meeting with VPA/John                                                                                                                                                                                                          Email among outside counsel and in-house counsel forwarding document collection contains information
                                                                                                 Reinhart... VPA "looking to open up                       Burns, Michael*; Sullivan, Morgen*;                                                                                                                                      provided to outside counsel and in-house counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_03772   CSXT0140762   CSXT0140763   4/12/2018                  Outlook Message File     NPBL" [historical document]           Armbrust, Steven*   Baum, Edwin*                                                          Armbrust, Steven*                                                 Attorney-Client; Work Product    anticipation of NPBL litigation. A copy of the collected portion has been produced elsewhere.

                                                                                                 FW: Meeting with VPA/John                                                                                                                                                                                                          Email among outside counsel and in-house counsel forwarding document collection contains information
                                                                                                 Reinhart... VPA "looking to open up                       Burns, Michael*; Sullivan, Morgen*;                                                                                                                                      provided to outside counsel and in-house counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_03773   CSXT0140764   CSXT0140765   4/12/2018 Burns, Michael   Outlook Message File     NPBL" [historical document]           Armbrust, Steven*   Baum, Edwin*                                                                                                                            Attorney-Client; Work Product    anticipation of NPBL litigation. A copy of the collected portion has been produced elsewhere.
                                                                                                                                                                                                                                                                                                                                    Email among in-house counsel regarding NPBL board candidates contains in-house counsel's legal opinion
CSX_Priv_02575   CSXT0100644   CSXT0100644   4/13/2018                  Outlook Message File     Independent Directors list            Burns, Michael*     Armbrust, Steven*                      Sullivan, Morgen*                                                                                Attorney-Client; Work Product    prepared in anticipation of NPBL litigation.
                                                                                                 RE: NPBL Independent Director                                                                                                                                                                                                      Email string among in-house counsel regarding NPBL independent director candidates requests and contains
CSX_Priv_03782   CSXT0140941   CSXT0140941   4/13/2018                  Outlook Message File     Candidates                            Burns, Michael*     Armbrust, Steven*                      Sullivan, Morgen*                                                                                Attorney-Client; Work Product    in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 8 of 9 PageID# 6888

                                                                                                 NPBL Independent Director
                                                                                                 Candidates -- for your review prior                                                                 Burns, Michael*; Sullivan,                                                                                                       Email among in-house counsel regarding NPBL board requests and contains in-house counsel's legal opinion
CSX_Priv_02576   CSXT0100675   CSXT0100675   4/13/2018                  Outlook Message File     to sending to NPBL                    Armbrust, Steven*   Goldman, Nathan*                          Morgen*                       Armbrust, Steven*                                                 Attorney-Client; Work Product    prepared in anticipation of NPBL litigation.
                                                                                                 NPBL Independent Director
                                                                                                 Candidates -- for your review prior                                                                 Burns, Michael*; Sullivan,                                                                                                       Email among in-house counsel regarding NPBL board requests and contains in-house counsel's legal opinion
CSX_Priv_02578   CSXT0100677   CSXT0100677   4/13/2018 Burns, Michael   Outlook Message File     to sending to NPBL                    Armbrust, Steven*   Goldman, Nathan*                          Morgen*                                                                                         Attorney-Client; Work Product    prepared in anticipation of NPBL litigation.
                                                                                                 RE: NPBL Independent Director
                                                                                                 Candidates -- for your review prior                                                                 Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel regarding NPBL board candidates requests and contains in-house
CSX_Priv_02580   CSXT0100679   CSXT0100679   4/13/2018                  Outlook Message File     to sending to NPBL                    Goldman, Nathan*    Armbrust, Steven*                         Morgen*                                                                                         Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 RE: NPBL Independent Director
                                                                                                 Candidates -- for your review prior                                                                 Burns, Michael*; Sullivan,                                                                                                       Email string among in-house counsel regarding NPBL board candidates requests and contains in-house
CSX_Priv_02581   CSXT0100680   CSXT0100681   4/13/2018                  Outlook Message File     to sending to NPBL                    Goldman, Nathan*    Armbrust, Steven*                         Morgen*                                                                                         Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                      Draft board meeting discussion outline reflects outside counsel's and in-house counsel's legal opinion and
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; Armbrust, Steven*; Burns,                                        contains information provided to in-house counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_02587   CSXT0100733   CSXT0100743   4/13/2018                  Open XML Format                                                Sullivan, Morgen*                                                                                               Michael*                                      Attorney-Client; Work Product    anticipation of NPBL litigation.

                                                                                                                                                                                                                                                                                                                                      Email among in-house counsel regarding revised NPBL discussion points contains in-house counsel's legal
CSX_Priv_02586   CSXT0100732   CSXT0100732   4/13/2018                  Outlook Message File     Draft Talking Points                  Sullivan, Morgen*   Burns, Michael*; Armbrust, Steven*                                                          Baum, Edwin*                                  Attorney-Client; Work Product    opinion and reflects a request for outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                      Email string among in-house counsel regarding revised NPBL discussion points contains in-house counsel's
                                                                                                                                                                                                                                                                                                                                      legal opinion and reflects a request for outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02588   CSXT0100744   CSXT0100744   4/13/2018                  Outlook Message File     Re: Draft Talking Points              Burns, Michael*     Sullivan, Morgen*                         Armbrust, Steven*                                 Baum, Edwin*                                  Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Email string among in-house counsel regarding revised NPBL discussion points contains in-house counsel's
                                                                                                                                                                                                                                                                                                                                      legal opinion and reflects a request for outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02591   CSXT0100797   CSXT0100797   4/15/2018                  Outlook Message File     Re: Draft Talking Points              Burns, Michael*     Sullivan, Morgen*                         Armbrust, Steven*                                 Baum, Edwin*                                  Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Email string among outside counsel, in-house counsel and employee regarding NPBL board meeting
                                                                                                 [E]Re: NPBL pregame and dry-run                                                                     Sullivan, Morgen*;                                                                                                               preparation reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in
CSX_Priv_02593   CSXT0100803   CSXT0100804   4/16/2018                  Outlook Message File     [ reschedule to 8am]                  Baum, Edwin*        Armbrust, Steven*                         McKinstry, Allyson*                               Burns, Michael*; Swafford, Jermaine           Attorney-Client; Work Product    anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                      Email string among outside counsel, in-house counsel and employee regarding NPBL board meeting
                                                                                                 [E]Re: NPBL pregame and dry-run                                                                     Sullivan, Morgen*;                                                                                                               preparation reflects a request for outside counsel’s and in-house counsel’s legal opinion prepared in
CSX_Priv_02594   CSXT0100805   CSXT0100806   4/16/2018                  Outlook Message File     [ reschedule to 8am]                  Baum, Edwin*        Armbrust, Steven*                         McKinstry, Allyson*                               Burns, Michael*; Swafford, Jermaine           Attorney-Client; Work Product    anticipation of NPBL litigation.
                                                                                                 Accepted: NPBL pregame and dry-
                                                                                                 run +++++ RESCHEDULED to                                                                                                                                                                                                             Email among in-house counsel regarding NPBL board meeting preparation reflects a request for in-house
CSX_Priv_02595   CSXT0100826   CSXT0100826   4/16/2018                  Outlook Message File     5pm]                                  Burns, Michael*     Armbrust, Steven*                                                                                                                         Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                     Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                     Burns, Michael*; Girardot,
                                                                                                 RE: Confidential -- NPBL -- follow                                                                  Robert; Dideo, Tony;
                                                                                                 up to governance letter                                                                             Sullivan, Morgen*; O'Brien,                                                                                                      Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03791   CSXT0141113   CSXT0141118   4/16/2018 Girardot, Rob    Outlook Message File     (independent director candidates)     Armbrust, Steven*   Goldman, Nathan*                          Erin*; Warren, Carl                                                                             Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                                                                                                                     Piacente, Dean; Rice, Amy;
                                                                                                                                                                                                     Burns, Michael*; Girardot,
                                                                                                 RE: Confidential -- NPBL -- follow                                                                  Robert; Dideo, Tony;
                                                                                                 up to governance letter                                                                             Sullivan, Morgen*; O'Brien,                                                                                                      Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03792   CSXT0141125   CSXT0141130   4/16/2018                  Outlook Message File     (independent director candidates)     Armbrust, Steven*   Goldman, Nathan*                          Erin*; Warren, Carl           Armbrust, Steven*                                                 Attorney-Client; Work Product    counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                 FW: Confidential -- NPBL -- follow                                                                                                                    Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 up to governance letter                                                                             Burns, Michael*; Sullivan,                        Amy; Girardot, Robert; Dideo, Tony; O'Brien,                                   Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
CSX_Priv_03793   CSXT0141137   CSXT0141142   4/16/2018                  Outlook Message File     (independent director candidates)     Armbrust, Steven*   Baum, Edwin*; McKinstry, Allyson*         Morgen*; O'Brien, Erin*       Armbrust, Steven*   Erin*; Warren, Carl                          Attorney-Client; Work Product     contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                 FW: Confidential -- NPBL -- follow                                                                                                                    Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 up to governance letter                                                                             Burns, Michael*; Sullivan,                        Amy; Girardot, Robert; Dideo, Tony; O'Brien,                                   Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
CSX_Priv_03794   CSXT0141149   CSXT0141154   4/16/2018                  Outlook Message File     (independent director candidates)     Armbrust, Steven*   Baum, Edwin*; McKinstry, Allyson*         Morgen*; O'Brien, Erin*       Armbrust, Steven*   Erin*; Warren, Carl                          Attorney-Client; Work Product     contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                 FW: Confidential -- NPBL -- follow                                                                                                                    Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 up to governance letter                                                                             Burns, Michael*; Sullivan,                        Amy; Girardot, Robert; Dideo, Tony; O'Brien,                                   Email string among outside counsel, in-house counsel and employees regarding NPBL governance letter
CSX_Priv_03795   CSXT0141161   CSXT0141166   4/16/2018 Burns, Michael   Outlook Message File     (independent director candidates)     Armbrust, Steven*   Baum, Edwin*; McKinstry, Allyson*         Morgen*; O'Brien, Erin*                           Erin*; Warren, Carl                            Attorney-Client; Work Product   contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                       Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 FW: Confidential -- NPBL -- follow                                                                                                                    Amy; Burns, Michael*; Sullivan, Morgen*;
                                                                                                 up to governance letter                                   Shudtz, Peter*; Patelli, John*; Austin,                                                     Girardot, Robert; Dideo, Tony; O'Brien, Erin*;                                 Email string among in-house counsel and employees regarding NPBL governance letter contains in-house
CSX_Priv_03796   CSXT0141173   CSXT0141178   4/16/2018                  Outlook Message File     (independent director candidates)     Armbrust, Steven*   Mark*                                                                                       Warren, Carl                                   Attorney-Client; Work Product   counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                      Draft outline regarding NPBL board meeting preparation, including in-house counsel's comments, contains in-
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; Burns, Michael*; Sullivan,                                       house counsel's legal opinion and requests outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02602   CSXT0100867   CSXT0100879   4/16/2018                  Open XML Format                                                Armbrust, Steven*                                                                                               Morgen*                                       Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Draft outline regarding NPBL board meeting preparation, including in-house counsel's comments, contains in-
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; Burns, Michael*; Sullivan,                                       house counsel's legal opinion and requests outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02604   CSXT0100881   CSXT0100893   4/16/2018                  Open XML Format                                                Armbrust, Steven*                                                                                               Morgen*                                       Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Draft outline regarding NPBL board meeting preparation, including in-house counsel's comments, contains in-
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; Burns, Michael*; Sullivan,                                       house counsel's legal opinion and requests outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02606   CSXT0100895   CSXT0100907   4/16/2018 Burns, Michael   Open XML Format                                                Armbrust, Steven*                                                                                               Morgen*                                       Attorney-Client; Work Product    litigation.
                                                                                                 SCA comments to confidential                                                                                                                                                                                                         Email among outside counsel and in-house counsel regarding comments to draft NPBL discussion points
                                                                                                 Draft NPBL Talking Points 4 16                                                                      Burns, Michael*; Sullivan,                                                                                                       contains information provided to outside counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_02601   CSXT0100866   CSXT0100866   4/16/2018                  Outlook Message File     v2.docx                               Armbrust, Steven*   Baum, Edwin*                              Morgen*                       Armbrust, Steven*                                                 Attorney-Client; Work Product    anticipation of NPBL litigation.
                                                                                                 SCA comments to confidential                                                                                                                                                                                                         Email among outside counsel and in-house counsel regarding comments to draft NPBL discussion points
                                                                                                 Draft NPBL Talking Points 4 16                                                                      Burns, Michael*; Sullivan,                                                                                                       contains information provided to outside counsel for the purpose of rendering a legal opinion prepared in
CSX_Priv_02603   CSXT0100880   CSXT0100880   4/16/2018                  Outlook Message File     v2.docx                               Armbrust, Steven*   Baum, Edwin*                              Morgen*                       Armbrust, Steven*                                                 Attorney-Client; Work Product    anticipation of NPBL litigation.
                                                                                                 SCA comments to confidential                                                                                                                                                                                                         Email among outside counsel and in-house counsel regarding draft NPBL discussion points contains
                                                                                                 Draft NPBL Talking Points 4 16                                                                      Burns, Michael*; Sullivan,                                                                                                       information provided to outside counsel for the purpose of rendering a legal opinion prepared in anticipation of
CSX_Priv_02605   CSXT0100894   CSXT0100894   4/16/2018 Burns, Michael   Outlook Message File     v2.docx                               Armbrust, Steven*   Baum, Edwin*                              Morgen*                                                                                         Attorney-Client; Work Product    NPBL litigation.
                                                                                                 [E]RE: SCA comments to
                                                                                                 confidential Draft NPBL Talking                                                                     Burns, Michael*; Sullivan,                                                                                                       Email string among outside counsel and in-house counsel regarding draft NPBL discussion points requests
CSX_Priv_02607   CSXT0100983   CSXT0100984   4/16/2018                  Outlook Message File     Points 4 16 v2.docx                   Baum, Edwin*        Armbrust, Steven*                         Morgen*                                                                                         Attorney-Client; Work Product    and contains outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 [E]RE: SCA comments to
                                                                                                 confidential Draft NPBL Talking                                                                     Burns, Michael*; Sullivan,                                                                                                       Email string among outside counsel and in-house counsel regarding draft NPBL discussion points requests
CSX_Priv_02608   CSXT0100985   CSXT0100986   4/16/2018                  Outlook Message File     Points 4 16 v2.docx                   Baum, Edwin*        Armbrust, Steven*                         Morgen*                                                                                         Attorney-Client; Work Product    and contains outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                      Draft NPBL board meeting discussion outline reflects outside counsel's legal opinion and contains information
                                                                        Microsoft Office Word                                                                                                                                                          McKinstry, Allyson*; Burns, Michael*;                                          provided to in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03800   CSXT0141280   CSXT0141283   4/17/2018                  Open XML Format                                                Baum, Edwin*                                                                                                    Armbrust, Steven*; Sullivan, Morgen*          Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Draft NPBL board meeting discussion outline reflects outside counsel's legal opinion and contains information
                                                                        Microsoft Office Word                                                                                                                                                          McKinstry, Allyson*; Burns, Michael*;                                          provided to in-house counsel for the purpose of rendering a legal opinion prepared in anticipation of NPBL
CSX_Priv_03801   CSXT0141286   CSXT0141289   4/17/2018                  Open XML Format                                                Baum, Edwin*                                                                                                    Armbrust, Steven*; Sullivan, Morgen*          Attorney-Client; Work Product    litigation.
                                                                                                 RE: SCA comments to confidential
                                                                                                 Draft NPBL Talking Points 4 16                                                                                                                                                                                                       Email string among outside counsel and in-house counsel regarding revised NPBL discussion points requests
CSX_Priv_02609   CSXT0100987   CSXT0100988   4/17/2018                  Outlook Message File     v2.docx                               Armbrust, Steven*   Baum, Edwin*                              McKinstry, Allyson*                               Burns, Michael*; Sullivan, Morgen*            Attorney-Client; Work Product    and contains outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 RE: SCA comments to confidential
                                                                                                 Draft NPBL Talking Points 4 16                                                                                                                                                                                                       Email string among outside counsel and in-house counsel regarding revised NPBL discussion points requests
CSX_Priv_02610   CSXT0100989   CSXT0100990   4/17/2018                  Outlook Message File     v2.docx                               Armbrust, Steven*   Baum, Edwin*                              McKinstry, Allyson*                               Burns, Michael*; Sullivan, Morgen*            Attorney-Client; Work Product    and contains outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                      Draft outline regarding NPBL board meeting preparation, including in-house counsel's comments, contains in-
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Burns,                                      house counsel's legal opinion and requests outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02612   CSXT0100998   CSXT0101007   4/17/2018                  Open XML Format                                                Armbrust, Steven*                                                                                               Michael*; Sullivan, Morgen*                   Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Draft outline regarding NPBL board meeting preparation, including in-house counsel's comments, contains in-
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Burns,                                      house counsel's legal opinion and requests outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02614   CSXT0101009   CSXT0101018   4/17/2018                  Open XML Format                                                Armbrust, Steven*                                                                                               Michael*; Sullivan, Morgen*                   Attorney-Client; Work Product    litigation.
                                                                                                                                                                                                                                                                                                                                      Draft outline regarding NPBL board meeting preparation, including in-house counsel's comments, contains in-
                                                                        Microsoft Office Word                                                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Burns,                                      house counsel's legal opinion and requests outside counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02616   CSXT0101020   CSXT0101029   4/17/2018 Burns, Michael   Open XML Format                                                Armbrust, Steven*                                                                                               Michael*; Sullivan, Morgen*                   Attorney-Client; Work Product    litigation.
                                                                                                Case 2:18-cv-00530-MSD-RJK Document 310-21 Filed 04/12/21 Page 9 of 9 PageID# 6889

                                                                                                                                                                                                                                                                                                                                     Draft NPBL board meeting discussion outline reflects in-house counsel's legal opinion and contains
                                                                        Microsoft Office Word                                                                                                                                                                                                                                        information provided to in-house counsel for the purpose of rendering a legal opinion prepared in anticipation
CSX_Priv_03798   CSXT0141196   CSXT0141198   4/17/2018                  Open XML Format                                                  Sullivan, Morgen*                                                                                              Armbrust, Steven*; Burns, Michael*           Attorney-Client; Work Product   of NPBL litigation.
                                                                                                 SCA comments to confidential                                                                                                                                                                                                        Email among outside counsel and in-house counsel regarding revised NPBL discussion points requests
                                                                                                 Draft NPBL Talking Points 4-                                                                        Burns, Michael*; Sullivan,                                                                                                      outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02611   CSXT0100997   CSXT0100997   4/17/2018                  Outlook Message File     17.docx                                 Armbrust, Steven*   Baum, Edwin*; McKinstry, Allyson*       Morgen*                        Armbrust, Steven*                                                Attorney-Client; Work Product   litigation.
                                                                                                 SCA comments to confidential                                                                                                                                                                                                        Email among outside counsel and in-house counsel regarding revised NPBL discussion points requests
                                                                                                 Draft NPBL Talking Points 4-                                                                        Burns, Michael*; Sullivan,                                                                                                      outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02613   CSXT0101008   CSXT0101008   4/17/2018                  Outlook Message File     17.docx                                 Armbrust, Steven*   Baum, Edwin*; McKinstry, Allyson*       Morgen*                        Armbrust, Steven*                                                Attorney-Client; Work Product   litigation.
                                                                                                 SCA comments to confidential                                                                                                                                                                                                        Email among outside counsel and in-house counsel regarding revised NPBL discussion points requests
                                                                                                 Draft NPBL Talking Points 4-                                                                        Burns, Michael*; Sullivan,                                                                                                      outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02615   CSXT0101019   CSXT0101019   4/17/2018 Burns, Michael   Outlook Message File     17.docx                                 Armbrust, Steven*   Baum, Edwin*; McKinstry, Allyson*       Morgen*                                                                                         Attorney-Client; Work Product   litigation.
                                                                                                                                                                                                                                                                                                                                     Email among in-house counsel regarding revised NPBL discussion outline requests in-house counsel's legal
CSX_Priv_03797   CSXT0141195   CSXT0141195   4/17/2018                  Outlook Message File     NPBL Points                             Sullivan, Morgen*   Burns, Michael*; Armbrust, Steven*                                                                                                      Attorney-Client; Work Product   opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel regarding revised NPBL discussion points requests in-house counsel's
CSX_Priv_02617   CSXT0101033   CSXT0101033   4/17/2018                  Outlook Message File     RE: NPBL Points                         Burns, Michael*     Sullivan, Morgen*; Armbrust, Steven*                                                                                                    Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel regarding revised NPBL discussion points requests and contains in-
CSX_Priv_02618   CSXT0101034   CSXT0101034   4/17/2018                  Outlook Message File     RE: NPBL Points                         Armbrust, Steven*   Sullivan, Morgen*                                                                          Burns, Michael*                              Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Draft NPBL board meeting discussion outline reflects in-house counsel's legal opinion and contains
                                                                        Microsoft Office Word                                                                                                                                                           Baum, Edwin*; McKinstry, Allyson*; Burns,                                    information provided to outside counsel and in-house counsel for the purpose of rendering a legal opinion
CSX_Priv_03799   CSXT0141234   CSXT0141236   4/17/2018                  Open XML Format                                                  Sullivan, Morgen*                                                                                              Michael*; Armbrust, Steven*                  Attorney-Client; Work Product   prepared in anticipation of NPBL litigation.

                                                                                                 [E]FW: NPBL Board/Shareholder                               Armbrust, Steven*; Burns, Michael*;                                                                                                                                     Email string among outside counsel and in-house counsel regarding proposed amendment to bylaws contains
CSX_Priv_03802   CSXT0141290   CSXT0141292   4/17/2018 Burns, Michael   Outlook Message File     meeting on 4/18 (Research Items)        Baum, Edwin*        Sullivan, Morgen*                       McKinstry, Allyson*                                Desanto, Jay*                                Attorney-Client; Work Product   outside counsel's legal opinion prepared in anticipation of NPBL litigation.

                                                                                                 [E]FW: NPBL Board/Shareholder                               Armbrust, Steven*; Burns, Michael*;                                                                                                                                     Email string among outside counsel and in-house counsel regarding proposed amendment to bylaws contains
CSX_Priv_03813   CSXT0141322   CSXT0141324   4/17/2018                  Outlook Message File     meeting on 4/18 (Research Items)        Baum, Edwin*        Sullivan, Morgen*                       McKinstry, Allyson*                                Desanto, Jay*                                Attorney-Client; Work Product   outside counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 Fwd: Revised talking points -- short
                                                                                                 outline of votes below --                                                                                                                              Armbrust, Steven*; Swafford, Jermaine;
                                                                                                 location/time for pre-meeting                                                                                                                          Baum, Edwin*; Sullivan, Morgen*; McKinstry,                                  Email string among outside counsel, in-house counsel and employee regarding NPBL board meeting contains
CSX_Priv_03824   CSXT0141359   CSXT0141360   4/18/2018                  Outlook Message File     tomorrow                                Burns, Michael*     Burns, Michael*                                                                            Allyson*                                    Attorney-Client; Work Product    outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 RE: Revised talking points -- short
                                                                                                 outline of votes below --                                                                                                                                                                                                           Email string among outside counsel, in-house counsel and employee regarding revised NPBL discussion
                                                                                                 location/time for pre-meeting                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Burns,                                    outline contains outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03826   CSXT0141369   CSXT0141370   4/18/2018                  Outlook Message File     tomorrow                                Armbrust, Steven*   Swafford, Jermaine                                                                         Michael*; Sullivan, Morgen*                  Attorney-Client; Work Product   litigation.
                                                                                                 FW: Revised talking points -- short
                                                                                                 outline of votes below --                                                                                                                                                                                                           Email string among outside counsel, in-house counsel and employee regarding revised NPBL discussion
                                                                                                 location/time for pre-meeting                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Sullivan,                                 outline contains outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03827   CSXT0141371   CSXT0141372   4/18/2018                  Outlook Message File     tomorrow                                Armbrust, Steven*   Burns, Michael*                                                                            Morgen*; Swafford, Jermaine                  Attorney-Client; Work Product   litigation.
                                                                                                 Re: Revised talking points -- short
                                                                                                 outline of votes below --                                                                                                                                                                                                           Email string among outside counsel, in-house counsel and employee regarding revised NPBL discussion
                                                                                                 location/time for pre-meeting                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Sullivan,                                 outline contains outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03828   CSXT0141373   CSXT0141375   4/18/2018                  Outlook Message File     tomorrow                                Burns, Michael*     Armbrust, Steven*                                                                          Morgen*; Swafford, Jermaine                  Attorney-Client; Work Product   litigation.
                                                                                                 RE: Revised talking points -- short
                                                                                                 outline of votes below --                                                                                                                                                                                                           Email string among outside counsel, in-house counsel and employee regarding revised NPBL discussion
                                                                                                 location/time for pre-meeting                                                                                                                          Baum, Edwin*; McKinstry, Allyson*; Sullivan,                                 outline contains outside counsel's and in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_03829   CSXT0141376   CSXT0141378   4/18/2018                  Outlook Message File     tomorrow                                Armbrust, Steven*   Burns, Michael*                                                                            Morgen*; Swafford, Jermaine                  Attorney-Client; Work Product   litigation.
                                                                                                 RE: NPBL Post-Meeting                                       Armbrust, Steven*; Sullivan, Morgen*;                                                                                                                                   Email string among outside counsel and in-house counsel regarding post-meeting discussion reflects in-
CSX_Priv_02619   CSXT0101101   CSXT0101102   4/19/2018                  Outlook Message File     Discussion                              Burns, Michael*     Baum, Edwin*                                                                                                                            Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 [E]Re: NPBL Post-Meeting                                                                            Armbrust, Steven*; Sullivan,                                                                                                    Email string among outside counsel and in-house counsel regarding post-meeting discussion reflects in-
CSX_Priv_02620   CSXT0101103   CSXT0101103   4/19/2018                  Outlook Message File     Discussion                              Baum, Edwin*        Burns, Michael*                         Morgen*                                                                                         Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 [E]Re: NPBL Post-Meeting                                                                            Armbrust, Steven*; Sullivan,                                                                                                    Email string among outside counsel and in-house counsel regarding post-meeting discussion reflects in-
CSX_Priv_02621   CSXT0101104   CSXT0101104   4/19/2018                  Outlook Message File     Discussion                              Baum, Edwin*        Burns, Michael*                         Morgen*                                                                                         Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among outside counsel, in-house counsel and employees regarding NPBL strategy requests
                                                                                                                                                                                                                                                        Foote, James; Goldman, Nathan*; Rice, Amy;                                   outside counsel's legal opinion and contains in-house counsel's legal opinion prepared in anticipation of NPBL
CSX_Priv_02623   CSXT0101106   CSXT0101107   4/20/2018                  Outlook Message File     Re: NBPL Escalation Strategy            Burns, Michael*     Piacente, Dean                          Armbrust, Steven*                                  Dideo, Tony; Sullivan, Morgen*             Attorney-Client; Work Product     litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel regarding board and shareholder meeting summary requests and
CSX_Priv_02627   CSXT0101121   CSXT0101123   4/24/2018                  Outlook Message File     FW: CONFIDENTIAL -- npbl                Armbrust, Steven*   Burns, Michael*                                                        Armbrust, Steven*                                                Attorney-Client; Work Product   contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel regarding board and shareholder meeting summary requests and
CSX_Priv_03836   CSXT0141425   CSXT0141427   4/24/2018                  Outlook Message File     Re: CONFIDENTIAL -- npbl                Burns, Michael*     Armbrust, Steven*                                                                                                                       Attorney-Client; Work Product   contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel regarding board and shareholder meeting summary requests and
CSX_Priv_02628   CSXT0101124   CSXT0101126   4/24/2018                  Outlook Message File     RE: CONFIDENTIAL -- npbl                Armbrust, Steven*   Burns, Michael*                                                                                                                         Attorney-Client; Work Product   contains in-house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel and employee regarding board and shareholder meeting summary
                                                                                                                                                                                                                                                                                                                                     contains in-house counsel's legal opinion and reflects a request for outside counsel's legal opinion prepared
CSX_Priv_02637   CSXT0101171   CSXT0101173   4/30/2018                  Outlook Message File     Re: NPBL Update                         Piacente, Dean      Armbrust, Steven*                                                                          Crowell & Morning LLP*; Burns, Michael*      Attorney-Client; Work Product   in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel and employee regarding board and shareholder meeting summary
                                                                                                                                                                                                                                                                                                                                     contains in-house counsel's legal opinion and reflects a request for outside counsel's legal opinion prepared
CSX_Priv_02638   CSXT0101174   CSXT0101176   4/30/2018                  Outlook Message File     RE: NPBL Update                         Armbrust, Steven*   Piacente, Dean                                                                             Crowell & Morning LLP*; Burns, Michael*      Attorney-Client; Work Product   in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel and employee regarding board and shareholder meeting summary
                                                                                                                                                                                                                                                                                                                                     contains in-house counsel's legal opinion and reflects a request for outside counsel's legal opinion prepared
CSX_Priv_02639   CSXT0101177   CSXT0101179    5/1/2018                  Outlook Message File     RE: NPBL Update                         Piacente, Dean      Armbrust, Steven*                                                                          Crowell & Morning LLP*; Burns, Michael*      Attorney-Client; Work Product   in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among in-house counsel and employee regarding board and shareholder meeting summary
                                                                                                                                                                                                                                                                                                                                     contains in-house counsel's legal opinion and reflects a request for outside counsel's legal opinion prepared
CSX_Priv_02644   CSXT0101312   CSXT0101314    5/7/2018                  Outlook Message File     RE: NPBL Update                         Armbrust, Steven*   Piacente, Dean                                                                             Crowell & Morning LLP*; Burns, Michael*      Attorney-Client; Work Product   in anticipation of NPBL litigation.

                                                                                                                                                             Burns, Michael*; Sullivan, Morgen*;                                                                                                                                     Email among outside counsel, in-house counsel and employee regarding NPBL action plan reflects a request
CSX_Priv_02646   CSXT0101316   CSXT0101316    5/7/2018                  Outlook Message File     NPBL -- Follow up                       Armbrust, Steven*   Baum, Edwin*                                                                                                                            Attorney-Client; Work Product   for outside counsel’s and in-house counsel’s legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                     Armbrust, Steven*; Burns,                                                                                                       Email among in-house counsel regarding NPBL strategy contains in-house counsel's legal opinion prepared
CSX_Priv_02674   CSXT0101402   CSXT0101402   6/18/2018 Burns, Michael   Outlook Message File     NPBL                                    Goldman, Nathan*    Sullivan, Morgen*                       Michael*                                                                                        Attorney-Client; Work Product   in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among outside counsel and in-house counsel regarding draft demand letter timing and proposal
                                                                                                                                                                                                                                                                                                                                     comments requests outside counsel's legal opinion and contains outside counsel's and in-house counsel's
CSX_Priv_02676   CSXT0101428   CSXT0101429   6/19/2018                  Outlook Message File     [E]RE: NPBL -- update                   Baum, Edwin*        Armbrust, Steven*                       Sullivan, Morgen*                                  Goldman, Nathan*; Burns, Michael*            Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email string among outside counsel and in-house counsel regarding draft demand letter timing and proposal
                                                                                                                                                                                                                                                                                                                                     comments requests outside counsel's legal opinion and contains outside counsel's and in-house counsel's
CSX_Priv_02675   CSXT0101426   CSXT0101427   6/19/2018                  Outlook Message File     [E]RE: NPBL -- update                   Baum, Edwin*        Armbrust, Steven*                       Sullivan, Morgen*                                  Goldman, Nathan*; Burns, Michael*            Attorney-Client; Work Product   legal opinion prepared in anticipation of NPBL litigation.
                                                                                                 Re: Confidential - Line sale chart --                                                                                                                                                                                               Email string among in-house counsel regarding proposed real estate sale requests and contains in-house
CSX_Priv_02680   CSXT0101433   CSXT0101434   6/22/2018                  Outlook Message File     vs. 2                                   Patelli, John*      Burns, Michael*                         Armbrust, Steven*                                                                               Attorney-Client                 counsel’s legal opinion.
                                                                                                                                                             Sullivan, Morgen*; Patelli, John*;
                                                                                                                                                             Armbrust, Steven*; Craig-Johnson,
                                                                                                                                                             Cynthia*; Weisblatt, David*; Marques,                                                                                                                                   Email string among in-house counsel regarding Genesee & Wyoming discussion contains in-house counsel's
CSX_Priv_02696   CSXT0101525   CSXT0101525   7/16/2018                  Outlook Message File     RE: G&W Issues                          Burns, Michael*     Jason*; Hoffman, David*                                                                    Goldman, Nathan*                             Attorney-Client; Work Product   legal opinion prepared in connection with Short Lines arbitration.
                                                                                                 Letter - M Wallace to M Miller -
                                                                                                 App B - 8-2-18.docx -- For your                             Burns, Michael*; Shudtz, Peter*;                                                                                                                                        Email among in-house counsel regarding implementation of Short Lines arbitration decision requests and
CSX_Priv_02724   CSXT0101706   CSXT0101706    8/2/2018                  Outlook Message File     review                                  Armbrust, Steven*   Sullivan, Morgen*; Patelli, John*       Craig-Johnson, Cynthia*        Armbrust, Steven*                                                Attorney-Client                 contains in-house counsel’s legal opinion.

                                                                                                 RE: Letter - M Wallace to M Miller -                        Burns, Michael*; Shudtz, Peter*;                                                                                                                                        Email string among in-house counsel regarding implementation of Short Lines arbitration decision requests
CSX_Priv_02728   CSXT0101713   CSXT0101714    8/2/2018                  Outlook Message File     App B - 8-2-18.docx --- REVISED         Armbrust, Steven*   Sullivan, Morgen*; Patelli, John*       Craig-Johnson, Cynthia*        Armbrust, Steven*   Platt, Michael*                              Attorney-Client                 and contains in-house counsel’s legal opinion and relays outside counsel’s legal opinion.

                                                                                                 RE: Letter - M Wallace to M Miller -                        Burns, Michael*; Shudtz, Peter*;                                                                                                                                        Email string among in-house counsel regarding implementation of Short Lines arbitration decision requests
CSX_Priv_02731   CSXT0101719   CSXT0101720    8/2/2018                  Outlook Message File     App B - 8-2-18.docx --- REVISED         Armbrust, Steven*   Sullivan, Morgen*; Patelli, John*       Craig-Johnson, Cynthia*                            Platt, Michael*                              Attorney-Client                 and contains in-house counsel’s legal opinion and relays outside counsel’s legal opinion.
                                                                                                                                                                                                                                                        Goldman, Nathan*; Piacente, Dean; Rice,
                                                                                                 FW: Confidential -- Summary of                                                                                                                         Amy; Burns, Michael*; Sullivan, Morgen*;                                     Email string among in-house counsel and employees regarding NPBL rate proposal meeting contains in-
CSX_Priv_04179   CSXT0144501   CSXT0144502   9/11/2018                  Outlook Message File     telephonic meeting w/ NPBL              Armbrust, Steven*   Armbrust, Steven*                                                                          Girardot, Robert; Dideo, Tony                Attorney-Client; Work Product   house counsel's legal opinion prepared in anticipation of NPBL litigation.
                                                                                                                                                                                                                                                                                                                                     Email among in-house counsel regarding Norfolk Southern’s Petition to Set Compensation relays outside
                                                                                                                                                                                                                                                                                                                                     counsel’s legal opinion prepared in connection with Surface Transportation Board litigation and in anticipation
CSX_Priv_04280   CSXT0144868   CSXT0144868   9/14/2018                  Outlook Message File     FW: NPBL petition attached              Armbrust, Steven*   Burns, Michael*                         Sullivan, Morgen*                                  Gitomer, Louis*                              Attorney-Client; Work Product   of NPBL litigation.
